              Case 22-11068-JTD             Doc 27543        Filed 11/04/24        Page 1 of 62




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                         Chapter 11

FTX TRADING LTD., et al., 1                                    Case No. 22-11068 (JTD)

         Debtors.                                              (Jointly Administered)


FTX TRADING LTD., ALAMEDA
RESEARCH LLC, ALAMEDA RESEARCH
LTD., NORTH DIMENSION INC., WEST
REALM SHIRES, INC., and WEST REALM
SHIRES SERVICES, INC.,

                                   Plaintiffs,                 Adv. Pro. No. 24-_____(JTD)

                       -against-

RYAN SALAME,

                                   Defendant.


                COMPLAINT FOR AVOIDANCE AND RECOVERY OF
       TRANSFERS AND OBLIGATIONS PURSUANT TO 11 U.S.C. §§ 105, 544,
         547, 548, AND 550, AND DEL. CODE ANN. TIT. 6, §§ 1304 AND 1305,
        FOR AIDING AND ABETTING BREACHES OF FIDUCIARY DUTIES,
       FOR KNOWING ASSISTANCE IN BREACHES OF FIDUCIARY DUTIES,
     FOR DISALLOWANCE OF CLAIMS PURSUANT TO 11 U.S.C. § 502, AND FOR
    EQUITABLE SUBORDINATION OF CLAIMS PURSUANT TO 11 U.S.C. § 510(c)(1)

                 Plaintiffs FTX Trading Ltd. (“FTX”), Alameda Research LLC (“Alameda LLC”),

Alameda Research Ltd. (“Alameda”), North Dimension Inc. (“North Dimension”), West Realm

Shires, Inc. (“WRS”), and West Realm Shires Services, Inc. (“WRSS”) (together, the

“Plaintiffs”), through their undersigned counsel, for their Complaint against Ryan Salame


1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
    list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
    is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
            Case 22-11068-JTD         Doc 27543       Filed 11/04/24     Page 2 of 62




(“Salame”), allege the following based upon their personal knowledge and investigation to date

as to themselves and their own acts, and upon information and belief as to all other matters.

                                    NATURE OF THE CASE

       1.      Plaintiffs bring this action for aiding and abetting breaches of fiduciary duties,

knowing assistance in breaches of fiduciary duties, intentional and constructive fraudulent

transfers, and preferential transfers pursuant to Sections 105, 544, 547, 548, and 550 of Title 11

of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), and Sections 1304

and 1305 of Title 6 of the Delaware Code, Del. Code Ann. tit. 6, §§ 1304(a)(1)-(2) and 1305, to

avoid and recover from Salame, or from any other person or entity for whose benefit the

transfers were made or obligations incurred, all transfers of property of Plaintiffs and all

obligations of Plaintiffs to Salame made prior to the commencement of the above-captioned

bankruptcy cases (collectively, the “Chapter 11 Cases” and each a “Chapter 11 Case”). Plaintiffs

additionally seek to disallow, or alternatively to equitably subordinate, any and all claims filed or

held by Salame unless and until he has relinquished to Plaintiffs all property that Salame

received in transfers, or all property that Salame acquired using property that he received in

transfers, determined by the United States Bankruptcy Court for the District of Delaware (the

“Court”) to be avoidable and recoverable under the Bankruptcy Code.

       2.      On November 11 and November 14, 2022 (as applicable, the “Petition Date”), the

Debtors filed with the Court voluntary petitions for relief under Chapter 11 of the Bankruptcy

Code. No trustee has been appointed for Plaintiffs or any other Debtor in the Chapter 11 Cases,

and the Debtors continue to operate their businesses and manage their properties as debtors-in-

possession pursuant to Sections 1107(a) and 1108 of the Bankruptcy Code. Joint administration

of the Chapter 11 Cases was authorized by the Court by an order entered on November 22, 2022.



                                                -2-
              Case 22-11068-JTD            Doc 27543        Filed 11/04/24       Page 3 of 62




[D.I. 128]. Accordingly, Plaintiffs have the authority to file this Complaint to commence, and

thereafter to prosecute, this action.

         3.      As detailed herein, Salame received approximately $98.8 million dollars in

misappropriated funds from Plaintiffs’ estates, see Exhibits A and B, and aided and abetted

and/or knowingly assisted Samuel Bankman-Fried, Zixiao “Gary” Wang, Nishad Singh, and

Caroline Ellison (collectively, the “FTX Insiders”) in breaching the fiduciary duties that they

owed to the FTX Group. 2

         4.      Salame’s liability is not in dispute. On September 7, 2023, Salame pleaded guilty

to (i) conspiracy to defraud the United States and willfully violate the Federal Election Campaign

Act (“FECA”) and (ii) conspiracy to operate an unlicensed money transmitting business, through

which FTX Group customers deposited and withdrew more than $1 billion using bank accounts

in the names of Alameda and North Dimension. Under the terms of his guilty plea, Salame also

agreed to be held responsible in connection with sentencing for conspiring to make false

statements to banks as part of the unlicensed money transmitting business; willfully making an

excessive political contribution to Michelle Bond, his then-domestic partner, in connection with

her failed Congressional campaign; and fraudulently misappropriating property of the Debtors’

estates by withdrawing $5 million from his FTX.com exchange account on November 7, 2022

and subsequently spending those proceeds on, amongst other things, a public relations firm and

paying off a $20,000 personal credit charge at Restoration Hardware that he incurred after the

Petition Date. See Gov’t’s Sent’g Mem. (“Gov’t’s Sent’g Mem.”) at 10-11, United States v.

Salame, No. 22-cr-00673 (S.D.N.Y. May 21, 2024), ECF No. 436 (citing Presentence

Investigation Report (“PSR”) ¶ 41).


2
    The term “FTX Group” means, collectively, the Debtors and all affiliates of the Debtors that have not filed
    voluntary Chapter 11 petitions in the United States under the Bankruptcy Code.

                                                      -3-
            Case 22-11068-JTD        Doc 27543       Filed 11/04/24     Page 4 of 62




       5.      Salame abused his senior positions at the FTX Group for personal gain. He was

the right-hand man of the FTX Insiders, conspiring with them to operate an unlicensed money

transmitting business and aiding their abuse of control over the FTX Group and their perpetration

of one of the largest financial frauds in history. See Superseding Information ¶ 1, United States

v. Salame, No. 22-cr-00673 (S.D.N.Y. Sept. 7, 2023), ECF No. 262.                   Salame used

misappropriated Debtor assets to finance political contributions—including to Bond’s failed

2022 Congressional campaign—in violation of federal election law. See id. ¶¶ 1, 14; Gov’t’s

Sent’g Mem. at 2-3.

       6.      Despite Salame’s concerted efforts to obscure his receipt and expenditure of

misappropriated Debtor assets, it is evident that Salame reaped substantial benefits from his role

in “perpetrating aspects of the interrelated frauds that Bankman-Fried carried out at both

companies.” See Gov’t’s Sent’g Mem. at 1. Plaintiffs have determined, based on their analysis

and investigation to date, that Salame received from the Debtors at least $7.7 million in salary

and bonus payments. He also received approximately 9 million FTT tokens; while knowing that

FTT was severely inflated by the perpetration and concealment of a fraud on FTX customers,

Salame sold 1.1 million FTT for approximately $24 million.                With these and other

misappropriated Debtor assets, Salame financed a spending spree, purchasing, among other

things, real estate, businesses, luxury cars, and a $2.3 million investment in RedBird Capital

Partners Fund IV (“RedBird”).

       7.      In addition to their fraudulent transfer and aiding and abetting breach of fiduciary

duty claims, Plaintiffs assert a preference claim against Salame with respect to wire transfers he

received from Plaintiffs and certain withdrawals from his FTX.com and FTX.US exchange

accounts during the one-year period prior to the commencement of the Chapter 11 cases (the



                                               -4-
              Case 22-11068-JTD              Doc 27543         Filed 11/04/24        Page 5 of 62




“Preference Period”). Based on currently available information, during the Preference Period,

Salame received the benefit of at least $82.6 million in preferential transfers, including $52.9

million in wire transfers and approximately $29.8 million 3 in fiat and cryptocurrency exchange

withdrawals, which are avoidable under Section 547 of the Bankruptcy Code. 4 See Exhibits A

and C.

         8.      Pursuant to Section 502(d) of the Bankruptcy Code, Plaintiffs also seek to

disallow, or alternatively to equitably subordinate, any and all claims filed or held by Salame in

these Chapter 11 Cases unless and until Salame has relinquished to Plaintiffs all property Salame

received in transfers determined by the Court to be avoidable and recoverable under the

Bankruptcy Code.

         9.      During the course of this proceeding, Plaintiffs may learn (through formal

discovery or otherwise) of additional transfers made, or obligations incurred, to Salame that are

avoidable under the Bankruptcy Code. Indeed, because of the state of the Debtors’ records and

the near-complete control that Salame and the FTX Insiders were able to exercise over those

records prior to the filing of the Chapter 11 Cases, Plaintiffs expect to discover additional

avoidable transfers and obligations, as well as other claims, and expressly reserve the right to

amend this Complaint or file additional actions against Salame, as appropriate, to protect the

interests of their estates.




3
    This number excludes the $5 million withdrawal that Salame made on the eve of bankruptcy. Salame repaid
    this amount to the Debtors as part of his restitution obligations. See Order Authorizing the Debtors to Enter
    Into a Stipulation Relating to the Satisfaction of the Restitution Amount That Ryan Salame Owes the Debtors
    Under His Plea Agreement [D.I. 15504].
4
    In accordance with section 550(a) of the Bankruptcy Code, Plaintiffs may seek either (i) recovery of the
    transferred cryptocurrencies or (ii) the higher of such cryptocurrencies’ fair market value as of either (a) the
    time of payment resulting from any final resolution of the Complaint or (b) the date of such transfers to return
    their estates to the position that they would have enjoyed if the transfers had not occurred. Given the volatility
    of cryptocurrency values, Plaintiffs reserve all rights with respect to the appropriate pricing date.

                                                        -5-
             Case 22-11068-JTD      Doc 27543       Filed 11/04/24   Page 6 of 62




                                        THE PARTIES

       10.     Plaintiff FTX is a corporation registered in Antigua and Barbuda. FTX did

business as “FTX.com,” a global exchange that offered customers the ability to trade

cryptocurrencies and cryptocurrency-related derivatives. FTX is owned 80% by Paper Bird Inc.,

a Delaware corporation that is wholly owned by Bankman-Fried. The remaining 20% is owned

by hundreds of minority shareholders.

       11.     Plaintiff Alameda is a British Virgin Islands company limited by shares. It is a

wholly owned subsidiary of Alameda LLC.

       12.     Plaintiff Alameda LLC is a Delaware limited liability company that is 90% owned

by Bankman-Fried and 10% owned by Wang.

       13.     Plaintiff North Dimension is a Delaware corporation.     It is a wholly owned

subsidiary of Alameda LLC.

       14.     Plaintiff WRS is a Delaware corporation 52.99% owned by Bankman-Fried,

16.93% owned by Wang, 7.83% owned by Singh, and 22.25% owned by other minority

shareholders, including WRS employees and outside investors.

       15.     Plaintiff WRSS, doing business as “FTX US,” is a Delaware corporation and a

wholly owned subsidiary of Plaintiff WRS.

       16.     Defendant Ryan Salame was the Chief Executive Officer and Chairman of FTX

Digital Markets Ltd. (“FDM”), a wholly owned subsidiary of FTX, from September 2021 to

November 2022. He was previously the Head of Over-the-Counter Trading at Alameda, FTX,

and WRSS. Salame was also a Director of FTX Property Holdings, a Bahamian entity through

which the FTX Group companies purchased hundreds of millions of dollars of Bahamian luxury

real estate for the use of FTX Insiders and other FTX Group employees. On September 7, 2023,

Salame pleaded guilty to conspiracy to defraud the United States and willfully violate FECA and

                                              -6-
             Case 22-11068-JTD       Doc 27543       Filed 11/04/24   Page 7 of 62




conspiracy to operate an unlicensed money transmitting business. He is currently serving his

seven-and-a-half-year prison sentence.

                              OTHER RELEVANT PERSONS

       17.     Samuel Bankman-Fried, often referred to as “SBF,” is one of the founders of the

FTX Group. He co-founded Alameda LLC in 2017 and served as its Chief Executive Officer

through late 2021. In 2019, he founded FTX. In 2020, he founded WRSS. At all relevant times,

Bankman-Fried effectively controlled Plaintiffs through his majority ownership stakes in

Plaintiffs and their ultimate parents.      On November 2, 2023, following a jury trial,

Bankman-Fried was convicted of wire fraud, conspiracy to commit wire fraud, conspiracy to

commit commodities fraud, conspiracy to commit securities fraud, and conspiracy to commit

money laundering. Jury Verdict, United States v. Bankman-Fried, No. 22-cr-00673 (S.D.N.Y.

Nov. 2, 2023). He is currently serving his 25-year prison sentence.

       18.     Zixiao “Gary” Wang was a co-founder of FTX and its former Chief Technology

Officer. Wang was also the Chief Technology Officer for WRS. On December 19, 2022, Wang

pleaded guilty to wire fraud, conspiracy to commit wire fraud, conspiracy to commit

commodities fraud, and conspiracy to commit securities fraud. Min. Entry, United States v.

Wang, No. 22-cr-00673 (S.D.N.Y. Dec. 19, 2022).

       19.     Nishad Singh was the former Director of Engineering at FTX. Singh was also the

Chief Security Officer and Chief Engineer of WRS. On February 28, 2023, Singh pleaded guilty

to wire fraud, conspiracy to commit wire fraud, conspiracy to commit commodities fraud,

conspiracy to commit securities fraud, conspiracy to commit money laundering, and conspiracy

to make unlawful political contributions and defraud the Federal Election Commission (“FEC”).

Min. Entry, United States v. Singh, No. 22-cr-00673 (S.D.N.Y. Feb. 28, 2023). On October 30,



                                               -7-
               Case 22-11068-JTD      Doc 27543       Filed 11/04/24    Page 8 of 62




2024, he was sentenced to time served. Min. Entry, United States v. Singh, No. 22-cr-00673

(S.D.N.Y. Oct. 30, 2024).

         20.     Caroline Ellison was the Chief Executive Officer of Alameda LLC prior to its

bankruptcy. From September 6, 2022 to the Petition Date, Ellison also served as a director of

Plaintiff Alameda. On December 19, 2022, Ellison pleaded guilty to wire fraud, conspiracy to

commit wire fraud, conspiracy to commit commodities fraud, conspiracy to commit securities

fraud, and conspiracy to commit money laundering.         Min. Entry, United States v. Ellison,

No. 22-cr-00673 (S.D.N.Y. Dec. 19, 2022). On September 24, 2024, she was sentenced to 24

months in prison. Min. Entry, United States v. Ellison, No. 22-cr-00673 (S.D.N.Y. Sept. 24,

2024).

         21.     Michelle Bond is now Salame’s wife who waged an unsuccessful Congressional

primary campaign in 2022.       On August 22, 2024, the government unsealed an indictment

charging Bond with one count of causing unlawful political contributions, one count of causing

and accepting excessive campaign contributions, one count of causing and receiving an unlawful

corporate contribution, and one count of causing and receiving a conduit contribution in violation

of the Federal Election Law Act. See Indictment, United States v. Bond, No. 24-cr-00494

(S.D.N.Y. Aug. 19, 2024), ECF No. 2.

         22.     Gabriel Bankman-Fried is Sam Bankman-Fried’s brother and at all relevant times

was the founder and a director of the super-PAC Guarding Against Pandemics.

                                 JURISDICTION AND VENUE

         23.     This is a proceeding commenced pursuant to Rule 7001 of the Federal Rules of

Bankruptcy Procedure because, at a minimum, it seeks, among other things, to recover money or

property belonging to Plaintiffs’ estates. Fed. R. Bankr. P. 7001(1).



                                                -8-
             Case 22-11068-JTD        Doc 27543        Filed 11/04/24    Page 9 of 62




       24.       This proceeding relates to the Chapter 11 Cases filed with this Court on the

Petition Date.

       25.       The Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C.

§§ 157(a), 1334(a), and 1367(a), and the Amended Standing Order of Reference from the United

States District Court for the District of Delaware, dated February 29, 2012.

       26.       This adversary proceeding is a core proceeding pursuant to 28 U.S.C. § 157(b),

and the Court may enter final orders herein.

       27.       Venue of this adversary proceeding in this District is proper pursuant to

28 U.S.C. § 1409, and is consistent with the interests of justice, judicial economy, and fairness.

       28.       The statutory predicates for the relief requested herein are Sections 105(a),

502(d), 510, 544, 547, 548, and 550 of the Bankruptcy Code and Sections 1304 and 1305 of

Title 6 of the Delaware Code.

       29.       Pursuant to Rule 7008-1 of the Local Rules of Bankruptcy Practice and Procedure

of the United States Bankruptcy Court for the District of Delaware, Plaintiffs consent to the entry

of final orders and judgments by the Court on these claims to the extent that it is later determined

that the Court, absent consent of the parties, cannot enter final orders or judgments consistent

with Article III of the United States Constitution.

                                  FACTUAL ALLEGATIONS

I.     The FTX Insiders’ Scheme to Defraud the FTX Group’s Customers, Creditors, and
       Shareholders.

       30.       Prior to the Petition Date, the FTX Group operated cryptocurrency exchanges and

trading businesses. As explained in the First Day Declarations (defined below), the FTX Group

faced a severe liquidity crisis that necessitated the filing of these Chapter 11 Cases on an

emergency basis on November 11 and 14, 2022. Additional factual background relating to the


                                                 -9-
             Case 22-11068-JTD        Doc 27543       Filed 11/04/24    Page 10 of 62




FTX Group’s businesses and the commencement of these Chapter 11 Cases is set forth in the

Declaration of John J. Ray III in Support of Chapter 11 Petitions and First Day Pleadings

[D.I. 24], the Declaration of Edgar W. Mosley II in Support of Chapter 11 Petitions and First

Day Pleadings [D.I. 57], the Supplemental Declaration of John J. Ray III in Support of First Day

Pleadings [D.I. 92], and the Supplemental Declaration of Edgar W. Mosley II in Support of First

Day Pleadings [D.I. 93] (collectively, the “First Day Declarations”).

       31.     The FTX Insiders used their close control over the FTX Group’s businesses and

systems to perpetrate a massive fraud—squandering the FTX Group’s assets on, among other

things, luxury homes, political contributions, and various investments that would inure to the

benefit of the FTX Insiders rather than the corporate entities that had paid for them. Much of

this spending was funded through Alameda, which, at the FTX Insiders’ direction, unlawfully

diverted billions of dollars in FTX assets to the FTX Insiders’ pet projects. In doing so, the FTX

Insiders defrauded the FTX Group’s customers, creditors and shareholders, and violated their

fiduciary duties and numerous laws. Salame actively conspired with the FTX Insiders and was

an integral participant in their scheme.

       32.     Prior to the FTX Group’s collapse, the FTX Insiders and Salame held virtually all

of the top executive positions at the FTX Group, which did not have any independent board of

directors or board of managers overseeing those executives. Bankman-Fried was the CEO of

FTX until the Petition Date, was the sole director of Alameda until September 6, 2022, and was

previously the CEO and sole director of WRS. Even after formally stepping down as the sole

director of Alameda on September 6, 2022, Bankman-Fried continued to exercise substantial

control over Alameda. Wang served as the Chief Technology Officer at both FTX and WRS.

Singh served as the Director of Engineering at both FTX and WRS and as Chief Security Officer



                                               -10-
              Case 22-11068-JTD           Doc 27543          Filed 11/04/24       Page 11 of 62




at WRS. Ellison was the co-CEO of Alameda LLC from August 2021 until September 2022,

when she was named the sole CEO and director. Ellison was also a director of Alameda from

September 6, 2022 until the Petition Date.             Salame—who had, from November 2019 until

September 2021, served as Head of Over-the-Counter (“OTC”) Trading at Alameda, FTX and

WRSS—was the CEO and Chairman of FDM.

        33.      The FTX Insiders’ conduct is the subject of criminal proceedings initiated by

federal prosecutors and actions brought by the Securities and Exchange Commission, the

Commodity Futures Trading Commission, and other regulators.

        34.      As discussed in paragraphs 16-20 above, the FTX Insiders and Salame have

pleaded guilty to or, in the case of Bankman-Fried, been convicted by a jury of, multiple felonies

perpetrated through the very practices that underlie this action.                      On March 28, 2024,

Bankman-Fried was sentenced to 25 years in prison and ordered to forfeit more than $11 billion

to the United States. Min. Entry, United States v. Bankman-Fried, No. 22-cr-00673 (S.D.N.Y.

Mar. 28, 2024). On May 28, 2024, Salame was sentenced to seven-and-a-half years in prison

followed by three years of supervised release, ordered to forfeit to the United States more than

$1.5 billion, 5 fined $500,000, and ordered to pay restitution to the Debtors of $5,593,177.91.6

Min. Entry, United States v. Salame, No. 22-cr-00673 (S.D.N.Y. May 28, 2024).                                 On

September 24, 2024, Ellison was sentenced to two years in prison followed by three years of

supervised release and ordered to forfeit more than $11 billion to the United States. Min. Entry,

United States v. Ellison, No. 22-cr-00673 (S.D.N.Y. Sept. 24, 2024). On October 30, 2024,

5
    The Government accepted a smaller payment of about $6 million “in settlement of the outstanding [$1.5 billion]
    money judgement in lieu of continuing to seek Mr. Salame’s assets wherever they may be.” Sent’g Tr. 4:1-3,
    9-10, United States v. Salame, No. 22-cr-00673 (S.D.N.Y. May 28, 2024), ECF No. 448.
6
    In June 2024, Salame transferred Unit No. 3A in the Marina Residences at Albany Building 10 Condominium,
    an apartment purchased using Debtor funds, to the Debtors in satisfaction of the restitution he owed to the
    Debtors. See Order Authorizing the Debtors to Enter Into a Stipulation Relating to the Satisfaction of the
    Restitution Amount That Ryan Salame Owes the Debtors Under His Plea Agreement [D.I. 15504].

                                                      -11-
               Case 22-11068-JTD      Doc 27543      Filed 11/04/24   Page 12 of 62




Singh was sentenced to time served and three years of supervised release and ordered to forfeit

more than $11 billion to the United States. Min. Entry, United States v. Singh, No. 22-cr-00673

(S.D.N.Y. Oct. 30, 2024).

         35.     In connection with Wang’s plea, Wang admitted that in 2019 he made “certain

changes to [the FTX.com] code” to give Alameda “special privileges on the FTX platform,”

including to allow Alameda unfettered use of assets on the FTX.com exchange, even while

Alameda maintained negative balances in its own holdings of fiat (i.e., government-issued)

currencies and cryptocurrencies. Plea Tr. at 24:6-10, United States v. Wang, No. 22-cr-00673

(S.D.N.Y. Dec. 23, 2022), ECF No. 21. Using these “special privileges,” the FTX Insiders and

Salame frequently caused Alameda to spend large amounts of Debtor funds for their own

personal benefit.

         36.     Bankman-Fried repeatedly, and publicly, stated that Alameda operated as “a

wholly separate entity” from FTX. See, e.g., Annie Massa et al., Sam Bankman-Fried and

Alameda CEO Caroline Ellison Spoke About Red Flags at FTX 3 Months Before It Collapsed.

Here’s    What      They   Said   –   and   How   They   Lied,   FORTUNE   (Nov.   18,   2022),

https://fortune.com/2022/11/18/sam-bankman-fried-alameda-ceo-caroline-ellison-spoke-red-

flags-ftx-3-months-before-it-collapsed-what-said-how-lied/. Ellison was quoted as saying that

“[w]e keep [FTX and Alameda] quite separate in terms of day-to-day operations.” Id. In reality,

however, the FTX Insiders and Salame routinely, and secretly, used Alameda to loot

“several billion dollars” from FTX using the “special privileges,” thereby defrauding FTX Group

customers. Plea Tr. at 28:23-29:1, United States v. Singh, No. 22-cr-00673 (S.D.N.Y. Mar. 7,

2023), ECF No. 102; Plea Tr. at 24:6-10, United States v. Wang, No. 22-cr-00673 (S.D.N.Y.

Dec. 23, 2022), ECF No. 21.



                                              -12-
             Case 22-11068-JTD       Doc 27543        Filed 11/04/24    Page 13 of 62




       37.     Bankman-Fried also conspired with Ellison, Salame, and others to divert funds to

Alameda that were intended to be deposited at FTX.com before they reached the exchange, so

that the FTX Insiders could use those funds to benefit themselves. Beginning in or around 2019

and continuing through 2022, Bankman-Fried, with Salame’s participation and assistance,

caused FTX.com customers to deposit funds into bank accounts controlled by Alameda and then

North Dimension, without disclosing to the banks that held those accounts or to FTX.com

customers the nature of the arrangement between FTX, Alameda, and North Dimension. See

Superseding Indictment ¶ 15, United States v. Bankman-Fried, No. 22-cr-00673 (S.D.N.Y.

Mar. 28, 2023), ECF No. 115.

       38.     In the days leading up to the Petition Date, Bankman-Fried supplied potential

investors with a purported FTX balance sheet that included a liability of $8 billion in a “[h]idden,

poorly internally labled [sic] ‘fiat@’ account.” Id. ¶ 56. However, Bankman-Fried “well knew”

that this liability reflected “FTX customer fiat deposits accepted into Alameda’s bank accounts

that had not been maintained for the benefit of customers or repaid to FTX.” Id. ¶ 57. The FTX

Insiders used FTX customer fiat deposits “to make investments in the name of BANKMAN-

FRIED and his associates, rather than in the name of Alameda.”             Id. ¶ 26.   Salame was

personally involved in many such “investments.”

       39.     The FTX Insiders and Salame were aware at all relevant times of the “special

privileges on the FTX platform” that allowed Alameda to “borrow” billions of dollars from FTX

in order to, inter alia, finance “loans” from Alameda to the FTX Insiders. Ellison admitted that

from 2019 through 2022, she was aware of this arrangement, which she described as

“permitt[ing] Alameda access to an unlimited line of credit without being required to post

collateral . . . pay interest . . . [or] being subject to margin calls or FTX.com’s liquidation



                                               -13-
             Case 22-11068-JTD       Doc 27543        Filed 11/04/24   Page 14 of 62




protocols.” Plea Tr. at 27:11-15, United States v. Ellison, No. 22-cr-00673 (S.D.N.Y. Dec. 19,

2022), ECF No. 19. Ellison also “understood that FTX would need to use customer funds” to

make many of its investments, id. at 28:2-4, and admitted that many investments “were done in

the name of Alameda instead of FTX in order to conceal the source and nature of those funds.”

Id. at 28:22–29:1. Salame was also aware of Alameda’s special privileges, suggesting to Ellison

in January 2021 that “alameda should start depositing / withdrawing USD the way everyone else

does,” “like integrate the silvergate SEN instant in / out,” “and then just give the massive

collateral on alameda account they can always borrow the USD the way its [sic] happening now

but all above board.”

       40.     In the days leading up to the Petition Date, Ellison messaged Bankman-Fried that

she “had an increasing dread of this day that was weighing on me for a long time, and now that

it’s actually happening it just feels great to get it over with[,] one way or another.” Superseding

Indictment ¶ 53, United States v. Bankman-Fried, No. 22-cr-00673 (S.D.N.Y. Mar. 28, 2023),

ECF No. 115. On November 8 and 9, 2022, Salame messaged another insider that he felt “[s]o

shitty” and was concerned that he could be “fucked.” Recognizing the end was near and that

there was a chance FTX would file for bankruptcy, Salame attempted to withdraw almost $20

million dollars from his FTX.com account, but he succeeded only in withdrawing $5 million on

November 7, 2022.       After learning on November 9, 2022 that there was a shortfall of

approximately $46 million at FTX US, Salame emptied one of his FTX.US accounts of

approximately $610,000 worth of cryptocurrency on November 11, 2022, hours before the

Debtors filed for bankruptcy.




                                               -14-
                Case 22-11068-JTD           Doc 27543          Filed 11/04/24       Page 15 of 62




II.       Salame, as Part of Bankman-Fried’s Inner Circle, Facilitated the FTX Insiders’
          Scheme to Defraud the FTX Group’s Creditors.

          41.      Salame was an integral member of Bankman-Fried’s inner circle at the FTX

Group. Salame wrote that he was “incredibly intertwined with the firm, and [was] happy about

this and ha[d] no desire to change that.” According to Bankman-Fried, Salame was a “trusted”

and “loyal” employee, Trial Tr. at 2695:16-19, United States v. Bankman-Fried, No. 22-cr-

00673 (S.D.N.Y. Oct. 30, 2023), ECF No. 378, and was “one of the only people [he] d[id]n’t

need to have oversight of.” Salame wrote to Ellison that he “love[d] clearing some shit off sams

plate specifically so he c[ould] focus on stuff” and “highly value[d] being a part of sams world /

legacy.” On another occasion, Ellison wrote to Salame that he was “more in the loop than [she]

[was].” Ellison testified that Bankman-Fried said “he really valued Ryan [Salame] for his

loyalty”). Trial Tr. at 689:22-24, United States v. Bankman-Fried, No. 22-cr-00673 (S.D.N.Y.

Oct. 10, 2023), ECF No. 358.

          42.      Salame extolled on his LinkedIn profile that he “assisted Sam Bankman-Fried

with the founding and creation of FTX Trading Ltd” prior to assuming various roles within the

FTX Group. 7 Bankman-Fried additionally noted that Salame’s “work in The Bahamas was

instrumental in getting [the FTX Group] set up well.” 8 According to Bankman-Fried, Salame

“[took] responsibility for a bunch of trading things--trades, settlement, relationships, team

structure, etc.” and “add[ed] a ton” of value in these areas. Salame had “primary responsibility


7
      Ryan Salame, LINKEDIN, https://www.linkedin.com/in/ryansalame/?originalSubdomain=bs (last visited Oct. 11,
      2024). Salame’s LinkedIn profile was current as of when Plaintiffs last accessed it. See e.g., Issy Ronald,
      Former Top FTX Executive Ryan Salame Has Updated His LinkedIn Profile. His New Role? Prison Inmate,
      CNN (Oct. 11, 2024), https://edition.cnn.com/2024/10/11/business/ryan-salame-ftx-linkedin-profile-prison-intl-
      scli/index.html.
8
      Trial Tr. 2751:11-2752:24, United States v. Bankman-Fried, No. 22-cr-00673 (S.D.N.Y. Oct. 31, 2024), ECF
      No. 380 (citing Gov’t Ex. 2504, in which Bankman-Fried “joked that Ryan Salame . . . was effectively a
      member of the Bahamian government” when discussing who at the Bahamian government the FTX Group
      should approach to discuss a partnership opportunity between the FTX Group and the Bahamian government).

                                                        -15-
             Case 22-11068-JTD      Doc 27543       Filed 11/04/24   Page 16 of 62




over other staff to process customer fiat deposits and withdrawals.” Superseding Information

¶ 4, United States v. Salame, No. 22-cr-00673 (S.D.N.Y. Sept. 7, 2023), ECF No. 262.

       43.     Bankman-Fried also stated that Salame’s “work in [Washington] DC ha[d] been

awesome,” and that he was a “core piece of accomplishing some pretty impressive things.” On a

number of occasions, Salame and Bankman-Fried met with government officials and politicians.

For example, Salame accompanied Bankman-Fried to a meeting with the President of

Kazakhstan to discuss a potential $1 billion investment in a cryptocurrency mining company.

See Trial Tr. at 1315:16-21, United States v. Bankman-Fried, No. 22-cr-00673 (S.D.N.Y. Oct.

16, 2023), ECF No. 366; see also Def.’s Sent’g Mem. at 11, United States v. Salame, No. 22-cr-

00673 (S.D.N.Y. May 14, 2024), ECF No. 433 (“Ryan coupled [his] donations with substantial

and sustained political activity and engagement.       Ryan met on multiple occasions with

governmental leaders, including Senator Mitch McConnell and then-Congressman Kevin

McCarthy. . . . Whatever the topic, Ryan’s ultimate purpose for these meetings was eventually to

influence cryptocurrency policy.”). Salame also played an active role in formulating the FTX

Group’s business and communications strategies, at one point even directing a subordinate to

refrain from truthfully answering a customer’s question regarding the relationship between FTX

and Alameda in order to perpetuate his and the FTX Insiders’ ongoing fraud. He was “generally

responsible for the banking setup of both Alameda and FTX,” see Def.’s Sent’g Mem. at 42,

United States v. Singh, No. 22-cr-00673 (S.D.N.Y. Oct. 16, 2024), ECF No. 523, and exercised

control over the FTX Group’s funds, frequently directing that funds be transferred from one

entity to another. Salame also took over from Bankman-Fried the task of preparing Alameda’s

balance sheets, before the role was eventually passed onto Ellison. See Trial Tr. at 2402:17-21,

United States v. Bankman-Fried, No. 22-cr-00673 (S.D.N.Y. Oct. 27, 2023), ECF No. 376.



                                             -16-
             Case 22-11068-JTD       Doc 27543        Filed 11/04/24     Page 17 of 62




       44.     In Salame’s 2021 performance evaluation, Bankman-Fried wrote that Salame was

someone who “get[s] shit done, even if it requires acting creatively.”

       45.     Salame used his high-ranking positions within the FTX Group to participate in a

massive, wide-ranging fraud, enriching himself in the process.

       46.     Through transfers of at least $98.8 million that he received from the FTX Group,

Salame funded tens of millions of dollars in expenditures on, among other things, personal real

estate, businesses, a jet, luxury cars, an investment in RedBird, and political contributions. Much

of these transfers were from Alameda and North Dimension accounts, which Salame knew

contained commingled customer and corporate funds. By knowingly receiving and/or causing

Alameda and North Dimension to transfer commingled funds to him for his personal benefit and

enjoyment, Salame aided the FTX Insiders in defrauding FTX Group creditors.

III.   Salame Aided and Abetted and Knowingly Assisted the FTX Insiders’ Breaches of
       Their Fiduciary Duties By Facilitating the Commingling and Misappropriation of
       Corporate and Customer Assets and Other Misconduct.

       47.     At the FTX Insiders’ direction, the FTX Group portrayed itself as the vanguard of

customer protection efforts in the crypto industry. Bankman-Fried publicly claimed to support

federal legislation to safeguard consumers’ digital assets, and he touted the FTX exchanges’

purported procedures to protect fiat currency and crypto deposits, including in testimony he

provided to the U.S. Senate. See Examining Digital Assets: Risks, Regulation, and Innovation

Hearing Before the S. Comm. on Agric., Nutrition and Forestry, 117th Cong. 600 (2022). The

image that the FTX Insiders sought to portray as the customer-focused leader of the digital age

was a mirage. Indeed, Bankman-Fried picked the name “Alameda Research” because it did not

sound like a cryptocurrency firm. See Trial Tr. at 313:1-10, United States v. Bankman-Fried,

No. 22-cr-00673 (S.D.N.Y. Oct. 5, 2023), ECF No. 356. Like the FTX Insiders, Salame played a

central role in orchestrating the commingling and misuse of customer deposits and corporate

                                               -17-
               Case 22-11068-JTD     Doc 27543        Filed 11/04/24   Page 18 of 62




funds, aiding and abetting the FTX Insiders’ in breaching their fiduciary duties to the FTX

Group.

         48.     For example, in April 2021, Salame and the FTX Insiders attempted to legitimize

their illegal conduct by creating a sham “Payment Agent Agreement” between Alameda and

FTX that was backdated by nearly two years. The agreement had originated with Salame in late

January 2021. In connection with a contemplated IPO, FTX retained an external auditor to

prepare an audited financial statement of FTX, and employees sought to document FTX’s

internal controls, including preparing documents that could be shared with the auditor. In one

such document, Salame addressed the question, “How does FTX ensure a wire is not sent to the

incorrect countarperty [sic] whether by accident or for nefarious purposes?” Salame opined: “as

im writing this I guess FTX mostly mitigates the responsibility to alameda? I guess at some point

FTX should be confirming in some way possible that adequate funds are held with alameda?”

That same day, in the private-ftx-accounting Slack channel, Salame proposed the drafting of a

“payment processing agreement for alameda to process customer payments on behalf of FTX

users and the passing of required information to make this possible.” On or around this time,

Salame and the FTX Insiders asked an outside law firm to prepare the intercompany agreement

to share with the external auditor. An insider directed that the agreement state that “FTX gets

first dibs on Alameda’s cash” in an apparent attempt to paper over the fact that there were no

existing limitations on Alameda’s ability to spend FTX.com customers’ cash for its own

purposes. The draft agreement the law firm subsequently provided stated that Alameda provided

“cash management” services for FTX, and that assets of FTX held by Alameda pursuant to the

agreement would be deemed a loan to Alameda. Beginning in March 2021, another version of

the sham agreement that did not reflect any loan to Alameda was prepared and stated that



                                               -18-
              Case 22-11068-JTD      Doc 27543        Filed 11/04/24   Page 19 of 62




Alameda provided mere “payment services” pursuant to which it would “complete payments . . .

as directed by FTX from time to time” and receive assets from FTX “to be held and/or

transferred . . . as quickly as commercially possible.” In reality, as Salame and the FTX Insiders

well knew, Alameda never transferred and had no intention of transferring customer deposits to

FTX at all.

       49.      To evade restrictions and due diligence requirements imposed by banks, and to

avoid registering as a money services business (which carried regulatory requirements which

FTX sought to avoid), at the direction of the FTX Insiders and Salame, the FTX Group funneled

customer deposits and withdrawals in fiat currency through Alameda’s preexisting bank accounts

and made misrepresentations to banks about the purpose for which it was using those Alameda

accounts.

       50.      Indeed, in his plea allocution, Salame admitted to violating federal law by using

Alameda bank accounts “to help facilitate FTX customers’ fiat transactions through a bank

primarily located in California, which were then manually credited and debited on FTX

customers’ accounts by Alameda personnel acting under [his] management.” Plea Tr. at 23:6-18,

United States v. Salame, No. 22-cr-00673 (S.D.N.Y. Sept. 7, 2023), ECF No. 283.

       51.      By 2020, certain of Alameda’s banks began raising questions about Alameda’s

wire activity and began rejecting wires to or from Alameda. Rather than come clean, Salame and

the FTX Insiders continued to lie to the banks. At first, they falsely denied that FTX customers

deposited funds into Alameda bank accounts. Salame knew that “alameda d[id] a portion of

FTX processing for various activities,” including “process[ing] all fiat for OTC and for FTX.”

Yet, when a bank representative asked whether one of Alameda’s bank accounts was “being used

to settle trades for their derivatives exchange platform (FTX trading),” Salame directed an



                                               -19-
             Case 22-11068-JTD      Doc 27543        Filed 11/04/24   Page 20 of 62




Alameda employee to respond that “[c]ustomers occasionally confuse[d] FTX and Alameda” but

that “[a]ll incoming/outgoing wires are to settle trades with Alameda Research.”

       52.     After banks began rejecting wires to and from Alameda bank accounts, the FTX

Group, at the FTX Insiders’ direction, incorporated North Dimension as an entity whose sole

purpose was to enable the FTX Group to obtain bank accounts through which it could operate the

FTX exchanges. Bankman-Fried and Salame “chose the name ‘North Dimension,’ in part to

conceal from banks that there was a relationship between North Dimension, Alameda, and FTX.”

Gov’t’s Sent’g Mem. at 5 (citing PSR ¶ 29).

       53.     Salame played an integral role in opening U.S. bank accounts for North

Dimension. On March 19, 2021, a bank manager wrote to Salame on Slack asking if he was

available “[t]o discuss FTX and North Dimension.”           The messages reflect a one-sided

conversation, in which the bank manager wrote things like “Perfect,” “Works for me,” and

“Gimme 2 minutes,” without apparent responses from Salame. Upon information and belief,

Salame deleted his responses to the bank manager’s questions.

       54.     According to one Alameda employee, Salame also directed that employee to lie

on due diligence questionnaires that were part of North Dimension’s bank account applications.

For example, Salame instructed an employee to falsely represent that North Dimension was a

crypto trading firm with substantial operations. In reality, North Dimension was a shell company

that had no operations. Salame also instructed an employee to mark “[n]o” in response to the

question on a bank account application, “Is the business a money services business (MSB)?” In

fact, the FTX Group intended to—and did—use the North Dimension account to receive and pay

funds to customers, and was thus acting as an unlicensed money services business, a crime to

which Salame ultimately pleaded guilty.



                                              -20-
             Case 22-11068-JTD       Doc 27543       Filed 11/04/24   Page 21 of 62




       55.     On March 25, 2021, the bank that received these misleading and inaccurate due

diligence questionnaires approved the opening of an account for North Dimension. One of the

bank’s account managers messaged Salame and Bankman-Fried, writing that “North Dimension

is approved,” which Salame, Bankman-Fried, and the abovementioned Alameda employee

reacted to with a heart. Weeks later, with the official opening of North Dimension’s account still

pending, Salame informed Bankman-Fried of reports that a banking services company was

closing accounts of customers who were wiring fiat to Alameda bank accounts.            In reply,

Bankman-Fried asked Salame for an update on “the status of north dimension,” to which Salame

replied he had “been pinging them every day for it for weeks” and noted that Alameda is “now

blacklisted a lot of places sadly.” Just three days later, North Dimension’s bank account was

officially opened and was used to accept customer fiat deposits.

       56.     Salame assisted in and/or was knowledgeable about the provision of false

information to U.S. banks to try to satisfy their compliance requirements. In talking points

drafted by Salame in May 2021, he wrote: “North Dimensions [sic] is a separate entity which I

have done investments with and it is not related to Alameda Research, I’m happy to provide

North Dimensions [sic] entity documents for review to satisfy your compliance requirements.”

       57.     By at least September 2021, certain customers’ banks had begun questioning and

sometimes rejecting wires to or from the North Dimension accounts, which caused Salame and

Bankman-Fried to modify their scheme by opening bank accounts in the United States in the

name of FDM. Despite the fact that FDM had no contractual relationship with FTX customers

with respect to the custody of fiat currency or the payment of fee revenue, Salame represented on

FDM’s application to open a U.S. bank account that it intended to open both an account to

process FTX.com customer funds and an operating account that would be funded “from the



                                              -21-
               Case 22-11068-JTD            Doc 27543         Filed 11/04/24       Page 22 of 62




parent company and also internal transfers from the [] [c]ustodial account (fees from

customers).” By late-December 2021, Salame had successfully facilitated the opening of FDM’s

bank accounts, which, like the North Dimension accounts, contained commingled funds. These

accounts served as pass-through vehicles to funnel at least $5.4 billion in customer deposits onto

the FTX.com exchange. 9

         58.      The FTX Group used the commingled funds in the Alameda, North Dimension,

and FDM accounts for many purposes, including the cycling of money to and from customers to

meet withdrawal requests, as well as to make political and charitable donations and expenditures

for the benefit of Salame and the FTX Insiders.                   Salame knew about and facilitated this

commingling of customer funds, which enabled him to earn a reputation as an influential

political donor and to live a lavish lifestyle. On November 9, 2022, as the FTX Group was

collapsing, Salame told another insider that he was “trying to see how fucked I am, if FDM held

customer funds.”

         59.      In addition to facilitating the commingling and misappropriation of corporate

assets, Salame engaged in various other misconduct at the FTX Group. 10

         60.      For example, in 2021, Salame participated in a deceptive scheme to transfer

Alameda funds from Chinese exchanges. The Chinese government was investigating a trader

who had previously transacted with Alameda for money laundering. Trial Tr. at 827:20-828:4,



9
     See Second Interim Report of John J. Ray III to the Independent Directors: the Commingling and Misuse of
     Customer Deposits at FTX.com (“Second Interim Report”) at 12-14 [D.I. 1704-1].
10
     See, e.g., Mem. of USA in Opp. to Ryan Salame’s Petition for a Writ of Error Coram Nobis Ex. 2 at 2, United
     States v. Salame, No. 22-cr-00673 (S.D.N.Y. Sept. 5, 2024), ECF No. 491-3 (describing “areas of criminal
     exposure” for Salame identified by the United States Attorney’s Office for the Southern District of New York,
     which included: (1) evidence of Salame’s involvement in facilitating FTX Group employees’ immigration to
     the Bahamas by supervising a scheme to bribe Bahamian immigration authorities, in violation of the Foreign
     Corrupt Practices Act; (2) evidence of distribution quantity narcotics trafficking; (3) paying for prostitutes,
     including for VIP clients; and (4) evidence that Salame arranged to obtain unauthorized preferential access to
     tokens on FTX.com).

                                                       -22-
             Case 22-11068-JTD       Doc 27543        Filed 11/04/24   Page 23 of 62




United States v. Bankman-Fried, No. 22-cr-00673 (S.D.N.Y. Oct. 11, 2023), ECF No. 360. In

the course of that investigation, the Chinese government had ordered Alameda’s trading accounts

on Chinese exchanges Huobi and OKX to be frozen. See id. Alameda’s accounts on those

exchanges held $1 billion in assets, which represented a “substantial amount of Alameda’s

trading capital at the time.” Id. at 828:13-18. In an attempt to gain access to these frozen funds,

Salame assisted in creating several fake accounts on OKX using the personal information of Thai

prostitutes. Id. at 830:4-12. Salame planned for Alameda to enter into trades with these fake

accounts that were highly profitable for the fake accounts, such that Alameda could transfer its

otherwise inaccessible funds to these fake accounts for their subsequent withdrawal. Id. Salame

was instrumental in establishing this scheme. The strategy was ultimately unsuccessful; instead,

Alameda was able to successfully unfreeze its accounts by paying over $100 million in bribes to

the Chinese government officials. Id. at 829:3-6.

IV.    The Avoidable Transfers

       61.     During the period November 2020 to November 2022, Salame received

approximately $98.8 million in fraudulent transfers, see Exhibits A and B, and approximately

$82.6 million in preferential transfers, see Exhibits A and C.

       A.      Salame Received Tens of Millions of Dollars from the FTX Group While
               Defrauding FTX Customers.

       62.     During his three-year tenure at the FTX Group, Salame was compensated

handsomely by the Debtors, receiving approximately $7.8 million in cash compensation and

approximately 9 million FTT tokens. He subsequently sold approximately 1.1 million FTT,

receiving a $24 million windfall.

       63.     On July 12, 2019, he received 1 million locked FTT from Alameda. On July 22,

2019, he received an additional 7.94 million locked FTT from the OTC portal. From 2019 to


                                               -23-
             Case 22-11068-JTD      Doc 27543        Filed 11/04/24   Page 24 of 62




2022, Salame periodically sold FTT, including approximately 434,100 FTT in 2021 at prices

ranging from $7.77 to $78.50 for a total profit of $13 million, and 300,000 FTT in 2022 at prices

ranging from $21.61 to $46.50 for a total profit of $10.6 million. Salame sold these FTT tokens

while knowing that Alameda had “special privileges” on the FTX exchange. In other words, he

sold FTT while knowing that FTT was severely inflated by the perpetration and concealment of a

fraud on FTX customers and investors in which he was an active and knowing participant.

       B.      Salame Used Misappropriated Funds He Had Received from The FTX
               Group to Finance A Spending Spree.

       64.     In a recent interview by Tucker Carlson, Salame admitted that he “borrowed

money [from Alameda], and then [he] went and did a lot of things with that money. And one of

the big things [he] did was get involved in political contributions. But [he] also bought a house

with that money. [He] lived off that money.” See Interview of Ryan Salame, TUCKER CARLSON

SHOW, at 00:06:38 (Oct. 9, 2024), https://tuckercarlson.com/tucker-show-ryan-salame (“Tucker

Carlson Interview”).

       65.     Between November 2020 and November 2022, Salame went on an extravagant

spending spree funded by his receipt of tens of millions of misappropriated Debtor funds—

including funds he had “borrowed” from Alameda that “[he] never intended to repay.” Plea Tr.

at 21:21-22:1, United States v. Salame, No. 22-cr-00673 (S.D.N.Y. Sept. 18, 2023), ECF

No. 283.

       66.     Salame took advantage of his senior position at the FTX Group to direct the

transfer of approximately $98.8 million from Plaintiffs to his personal bank and his exchange

accounts. These transfers were not justified by any legitimate business objectives of the FTX

Group, and constituted the deliberate looting of Debtor assets, which Salame used to make




                                              -24-
               Case 22-11068-JTD          Doc 27543         Filed 11/04/24     Page 25 of 62




millions of dollars in donations to numerous politicians, purchase luxury real estate, and fund

personal business ventures.

                 i. Salame funded political donations with assets misappropriated from the
                    Debtors.

         67.     Salame, Bankman-Fried, and Singh collectively made more than $100 million in

political donations with misappropriated FTX Group funds. Salame himself made at least $43.5

million in political donations using misappropriated FTX Group funds. In addition, as discussed

below, Salame also financed the failed Congressional campaign of his then-domestic partner

Bond using misappropriated Debtor funds in violation of the federal election laws.

         68.     Salame and Singh have pleaded guilty to conspiring to make unlawful political

contributions and defraud the FEC. 11 In entering his plea, Salame admitted that “[b]etween the

fall of 2021 and November of 2022 mid-term elections, [he] made political contributions in [his]

name that were funded by transfers from the bank accounts of an Alameda subsidiary. During

this time [he] made tens of millions of dollars in campaign contributions to candidates for public

office and political action committees.”            Plea Tr. at 21:18-23, United States v. Salame,

No. 22-cr-00673 (S.D.N.Y. Sept. 18, 2023), ECF No. 283; see also Tucker Carlson Interview at

00:06:21 (“The campaign finance violations are because I borrowed money from Alameda,

which was Sam [Bankman Fried’]s company that he owned . . . . and g[o]t involved in political

contributions.”).

         69.     At Salame’s sentencing, the court stated that it is undisputed that Salame “knew

that this straw donor operation in which he engaged was absolutely illegal,” but he “went along

with it” and was a “major figure in it, if not the person who conceived it,” and “knowingly and


11
     Bankman-Fried was charged with the same crime, although the charges against Bankman-Fried were later
     dropped after the Bahamian government informed the U.S. prosecutors that it had not intended to extradite
     Bankman-Fried on the campaign finance charge.

                                                     -25-
             Case 22-11068-JTD       Doc 27543        Filed 11/04/24    Page 26 of 62




willfully assisted in destroying the limited transparency that the laws of the United States provide

in this area.” Sent’g Tr. at 20:23-21:4, United States v. Salame, No. 22-cr-00673 (S.D.N.Y.

May 28, 2024), ECF No. 448. He made millions of dollars in political contributions in his own

name to Republican Party candidates and causes as a straw donor in order to conceal the identity

of the true donor, Bankman-Fried, in violation of campaign finance laws. See, e.g., Trial Tr. at

1422:19-1423:3, United States v. Bankman-Fried, No. 22-cr-00673 (S.D.N.Y. Oct. 16, 2024),

ECF No. 366; Tucker Carlson Interview at 00:08:00-00:08:09 (“I believe in total, I donated

about 20 to $30 million throughout the cycle to Republican candidates.”).             Salame also

coordinated the payment of donations made in Bankman-Fried’s and Singh’s names, and created

a super-PAC to make contributions to Republican Party candidates.

       70.     Salame explained the scheme plainly in a November 2, 2021 text message to a

confidant: “Sam wants to donate to both democtratic [sic] and republican candidates in the US

but cause the worlds frankly lost its mind if you dontate [sic] to a deomcrat [sic] no republicatns

[sic] will speak to you and if you donate to a republican then no democrats will speak to you.”

Gov’t’s Sent’g Mem. at 8 (citing Gov’t Ex. 505). Salame would be the face of Republican

donations, with Bankman-Fried “rout[ing] money through [Salame].” Id.

       71.     The funds Salame used to make political contributions were often transferred

from the same Alameda and North Dimension bank accounts to which FTX customers sent funds

to be credited to their accounts on the FTX exchanges. Salame knew that the FEC reporting of

these contributions would “state that [he], rather than Alameda, made these political

contributions” and that “it was prohibited by campaign finance laws to make contributions in

[his] name with money that was not [his] own.” Plea Tr. at 22:5-9, United States v. Salame,

No. 22-cr-00673 (S.D.N.Y. Sept. 18, 2023), ECF No. 283.



                                               -26-
               Case 22-11068-JTD           Doc 27543         Filed 11/04/24      Page 27 of 62




         72.     In total, Plaintiffs have identified over 200 political contributions made by

Salame, totaling $43.5 million.12

         73.     Of note and as reflected in the chart below, at least 29 political contributions,

totaling $28.1 million, were made from Salame’s personal Signature Bank (“Signature”) #0072

account, which was funded entirely by transfers from North Dimension’s Silvergate Bank

(“Silvergate”) #8738 account—an account into which FTX.com customers were instructed to

deposit fiat currency:

         Date                   Value                                        Event
                                                Transfer from North Dimension’s Silvergate #8738
     May 25, 2022            $1,500,000
                                                account to Salame’s Signature #0072 account.
                                                Transfer from North Dimension’s Silvergate #8738
     May 25, 2022            $4,000,000
                                                account to Salame’s Signature #0072 account.
                                                Transfer from Salame’s Signature #0072 account to
     June 3, 2022             $(500,000)
                                                GMI PAC Inc.
                                                Transfer from Salame’s Signature #0072 account to
     June 13, 2022            $(800,000)
                                                American Action Network.
                                                Transfer from North Dimension’s Silvergate #8738
     June 16, 2022           $3,000,000
                                                account to Salame’s Signature #0072 account.
                                                Transfer from Salame’s Signature #0072 account to
     June 16, 2022          $(3,000,000)
                                                One Nation.
                                                Transfer from Salame’s Signature #0072 account to
     June 28, 2022          $(313,544.32)
                                                Michelle Bond.
                                                Transfer from Salame’s Signature #0072 account to
     June 30, 2022            $(100,000)
                                                Take Back the House 2022.
                                                Transfer from Salame’s Signature #0072 account to
     June 30, 2022            $(500,000)
                                                Stand for New York Committee.
                                                Transfer from Salame’s Signature #0072 account to
     June 30, 2022          $(3,000,000)
                                                American Dream Federal Action.
                                                Transfer from North Dimension’s Silvergate #8738
     July 1, 2022            $5,000,000
                                                account to Salame’s Signature #0072 account.
                                                Transfer from Salame’s Signature #0072 account to
     July 1, 2022           $(1,000,000)
                                                American Action Network.


12
     This number excludes the $400,000 that Salame caused FDM to transfer to Bond, discussed infra ¶¶ 103-05.

                                                      -27-
         Case 22-11068-JTD       Doc 27543     Filed 11/04/24   Page 28 of 62




      Date             Value                                Event
                                    Transfer from Salame’s Signature #0072 account to
  July 1, 2022      $(1,600,000)
                                    Common Sense Leadership Fund.
                                    Transfer from Salame’s Signature #0072 account to
  July 5, 2022      $(500,000)
                                    Heartland Resurgence Action.
                                    Transfer from North Dimension’s Silvergate #8738
  July 11, 2022     $5,000,000
                                    account to Salame’s Signature #0072 account.
                                    Transfer from Salame’s Signature #0072 account to
  July 11, 2022     $(250,000)
                                    Log Cabin Republicans.
                                    Transfer from Salame’s Signature #0072 account to
  July 11, 2022     $(1,000,000)
                                    American Action Network.
                                    Transfer from Salame’s Signature #0072 account to
  July 11, 2022     $(1,500,000)
                                    American Values Coalition Inc.
                                    Transfer from Salame’s Signature #0072 account to
  July 19, 2022     $(160,000)
                                    U.S. Right to Know.
                                    Transfer from Salame’s Signature #0072 account to
 August 9, 2022     $(167,000)
                                    Stand for New York Committee.
                                    Transfer from North Dimension’s Silvergate #8738
August 15, 2022     $2,000,000
                                    account to Salame’s Signature #0072 account.
                                    Transfer from North Dimension’s Silvergate #8738
August 15, 2022     $3,500,000
                                    account to Salame’s Signature #0072 account.
                                    Transfer from North Dimension’s Silvergate #8738
August 15, 2022     $4,500,000
                                    account to Salame’s Signature #0072 account.
                                    Transfer from Salame’s Signature #0072 account to
August 15, 2022     $(1,000,000)
                                    Graham Institute for Web3.
                                    Transfer from Salame’s Signature #0072 account to
August 16, 2022     $(200,000)
                                    Stand for New York Committee.
                                    Transfer from Salame’s Signature #0072 account to
August 16, 2022     $(2,500,000)
                                    Senate Leadership Fund.
                                    Transfer from Salame’s Signature #0072 account to
August 16, 2022     $(2,500,000)
                                    One Nation.
                                    Transfer from Salame’s Signature #0072 account to
August 19, 2022     $(1,000,000)
                                    Prosperity Through Enterprise Inc.
                                    Transfer from Salame’s Signature #0072 account to
August 31, 2022     $(215,000)
                                    Michelle Bond.
                                    Transfer from North Dimension’s Silvergate #8738
September 7, 2022   $3,000,000
                                    account to Salame’s Signature #0072 account.
                                    Transfer from Salame’s Signature #0072 account to
September 7, 2022   $(127,300)
                                    New York Republican State Committee.


                                        -28-
             Case 22-11068-JTD         Doc 27543       Filed 11/04/24   Page 29 of 62




       Date                 Value                                   Event
                                           Transfer from Salame’s Signature #0072 account to
September 8, 2022        $(2,550,000)
                                           American Prosperity.
                                           Transfer from Salame’s Signature #0072 account to
September 23, 2022        $(100,000)
                                           Common Sense NC.
                                           Transfer from Salame’s Signature #0072 account to
September 28, 2022       $(2,000,000)
                                           Congressional Leadership Fund.
                                           Transfer from North Dimension’s Silvergate #8738
  October 3, 2022         $1,000,000
                                           account to Salame’s Signature #0072 account.
                                           Transfer from Salame’s Signature #0072 account to
  October 3, 2022         $(121,100)
                                           Team McConnell.
                                           Transfer from Salame’s Signature #0072 account to
  October 3, 2022         $(650,000)
                                           American Prosperity Alliance.
                                           Transfer from Salame’s Signature #0072 account to
  October 4, 2022         $(280,000)
                                           Manhattan Institute for Policy Research.
                                           Transfer from North Dimension’s Silvergate #8738
 October 12, 2022         $1,500,000
                                           account to Salame’s Signature #0072 account.
                                           Transfer from Salame’s Signature #0072 account to
 October 14, 2022         $(250,000)
                                           Faithful & Strong Policies, Inc.
                                           Transfer from Salame’s Signature #0072 account to
November 1, 2022          $(250,000)
                                           Better Tomorrow.
                                           Transfer from North Dimension’s Silvergate #8738
November 4, 2022           $500,000
                                           account to Salame’s Signature #0072 account.
                                           Transfer from Salame’s Signature #0072 account to
November 4, 2022          $(500,000)
                                           Republican Governors Association.

       74.     Although a small number of the above recipients of these political contributions

have either returned the funds to the Debtors or turned them to over to the U.S. Department of

Justice, other recipients have not returned the funds.

       75.     Salame’s Signature #0072 account is the only personal bank account of Salame’s

for which the Debtors have account statements; the Debtors believe that discovery will reveal

that Salame made additional contributions using Debtor funds through other his other bank

accounts.    For example, Paige Owens, a forensic accountant at the Federal Bureau of

Investigations, testified at Bankman-Fried’s trial that Salame’s Greylock #1948 account, through


                                                -29-
             Case 22-11068-JTD      Doc 27543        Filed 11/04/24   Page 30 of 62




which Salame received $17.6 million in transfers from the Debtors, was used to send at least

seven wires to political organizations from April 22, 2022 through May 23, 2022. See Trial Tr.

at 1874:2:17, United States v. Bankman-Fried, No. 22-cr-00673 (S.D.N.Y. Oct. 18, 2023), ECF

No. 370.

       76.     The FECA, 52 U.S.C. § 30101 et seq., prohibits people from making conduit

contributions, i.e., those “in the name of another person” or “knowingly permit[ing] [their] name

to be used to effect such a contribution,” id. § 30122, and prohibits corporations from making

contributions, id. § 30118.

       77.     Salame “knew it was prohibited by campaign finance laws to make contributions

in [his] name with money that was not [his] own.” Plea Tr. at 22:7-9, United States v. Salame,

No. 22-cr-00673 (S.D.N.Y. Sept. 18, 2023), ECF No. 283. As an example that Salame knew it

was illegal to make a campaign contribution using someone else’s money, on or about June 27,

2022, Salame asked a friend to donate to Bond’s campaign. Salame stated, “the whole thing is

annoying cause you can only max donate $5,800 per person otherwise I would just cover the

whole thing.” Indictment ¶ 20, United States v. Bond, No. 24-cr-00494 (S.D.N.Y. Aug. 19,

2024), ECF No. 2. When the friend replied, “Lol if you venmo me I’ll donate it,” Salame

responded, “lol don’t type that, that’s not allowed.” Id. Salame nonetheless conspired with

Bankman-Fried to violate FECA’s prohibitions on conduit and corporate contributions.

       78.     Salame and Bankman-Fried perpetuated this campaign finance scheme at least in

part to improve their personal standing in Washington, D.C., increase the FTX Group’s profile,

and curry favor with candidates who could help pass legislation favorable to the FTX Group or

Bankman-Fried’s personal agenda, including legislation that would determine regulatory

oversight of the FTX Group and its industry. See Superseding Indictment ¶ 38, United States v.



                                              -30-
             Case 22-11068-JTD       Doc 27543       Filed 11/04/24   Page 31 of 62




Bankman-Fried, No. 22-cr-00673 (S.D.N.Y. Mar. 28, 2023), ECF No. 115. At the time of their

campaign finance scheme, “there were serious political disputes in Washington, D.C., about how

cryptocurrency and related products should be regulated,” and Salame and Bankman-Fried “took

a massive, secretive shortcut, using corporate funds and straw donors to pour tens of millions of

dollars to unlawfully support politicians they believed to be crypto friendly.” Gov’t’s Sent’g

Mem. at 14. Salame wrote in a message that the purpose of making bipartisan donations was “to

weed out anti crypto dems for pro crypto dems and anti crypto repubs for pro crypto repubs.”

See Superseding Information ¶ 13, United States v. Salame, No. 22-cr-00673 (S.D.N.Y. Sept. 7,

2023), ECF No. 262.      Donations routed through Salame would serve to “weed out that

republican side.” Id.

       79.     Bankman-Fried’s indictment further states that because he did not want “to have

his name publicly attached to Republican candidates,” he conspired with others to have such

contributions made in the names of others—including Salame—and to conceal that the Debtors

were the source of the contributed funds. See Superseding Indictment ¶¶ 38-39, United States v.

Bankman-Fried, No. 22-cr-00673 (S.D.N.Y. Mar. 28, 2023), ECF No. 115.

       80.     In his guilty plea allocution, Salame stated that from the fall of 2021 to November

of 2022, he made “tens of millions of dollars” in “political contributions in [his] name that were

funded by transfers from the bank accounts of an Alameda subsidiary.” Plea Tr. at 21:18-23,

United States v. Salame, No. 22-cr-00673 (S.D.N.Y. Sept. 18, 2023), ECF No. 283. Salame

“understood throughout this process that the donations in question were for the benefit of

initiatives primarily introduced to [him] by others, which were supported by Sam Bankman-

Fried.” Id. 22:1-5. He “further understood that FEC reporting would state that [he], rather than

Alameda, made these political contributions.” Id. 22:5-7.



                                              -31-
             Case 22-11068-JTD       Doc 27543       Filed 11/04/24   Page 32 of 62




       81.     By design of Bankman-Fried and Salame, Salame’s contributions primarily went

to Republican candidates or Republican-affiliated PACs or super-PACs. Records identified by

the Debtors show that Salame served as a conduit or “straw donor” for Bankman-Fried’s

donations to Republican Party candidates, which Bankman-Fried and Salame sought to obscure,

and that Salame was rewarded for his participation in this scheme.

       82.     In a memorandum Salame drafted on January 26, 2022, titled “Ryans plate /

initiatives,” Salame wrote that, under the heading of “Politics,” he would “be spending a bit more

time in DC” and that he “[w]ant[ed] to explore avenues that we can get more long term influence

via the R[epublican] route with a few options in mind.” Salame shared this memorandum with

Bankman-Fried via email.       A written review Bankman-Fried prepared in August 2022

concerning Salame’s performance during 2022 stated that Salame’s “work in DC has been

awesome: you’ve been a core piece of accomplishing some pretty impressive things.”

Bankman-Fried further wrote that he “could see [Salame] adding a ton of value via . . . DC stuff,

particularly on the Republican side.” To reward Salame’s performance, Bankman-Fried wrote,

Salame’s bonus for the first half of 2022 would include $750,000 in cash, 21,900 options on

FTX, and 154,000 options for WRS.

       83.     Using funds misappropriated from the Debtors, Salame became an influential

contributor to the Republican Party during the 2022 midterm election cycle. The national press

identified Salame as the 12th largest donor to Republicans in the 2022 midterm elections. Luis

Melgar, Meet the mega-donors pumping millions into the 2022 midterms, WASH. POST (Oct. 24,

2022, 4:31 PM), https://www.washingtonpost.com/politics/interactive/2022/top-election-donors-

2022/. His huge donations granted him access to meetings with powerful political figures,

including U.S. Senate and House of Representatives leaders. Gov’t’s Sent’g Mem. at 8 (citing



                                              -32-
             Case 22-11068-JTD      Doc 27543       Filed 11/04/24   Page 33 of 62




Def.’s Sent’g Mem. at 11, United States v. Salame, No. 22-cr-00673 (S.D.N.Y. May 21, 2024),

ECF No. 433). Talking points prepared for Salame in connection with a dinner between Salame

and a high-ranking Republican Senator in June 2022 stated that “SBF has been giving lots of

money, mostly to Democrats,” and Salame had “been giving lots of money to Republicans.”

       84.     Along with Salame, Sam Bankman-Fried’s brother, Gabe Bankman-Fried, also

participated in this scheme to influence American politics. Gabe Bankman-Fried founded and

served as director of Guarding Against Pandemics (“GAP”), a super-PAC that purported to

advocate for the adoption of pandemic prevention policies and operated in close collaboration

with Sam Bankman-Fried and the FTX Group. As one employee of GAP wrote to various FTX

employees in April 2022, “Guarding Against Pandemics is almost entirely funded—if not

entirely funded—by Sam Bankman-Fried.”

       85.     Salame’s political contributions were part of Sam Bankman-Fried’s efforts to use

GAP to as a way to direct political contributions. GAP employees created and maintained an

internal spreadsheet named “GAP+ Expenditures 2022 (& Beyond)” (“GAP+ Spreadsheet”)

which was last updated on November 9, 2022.           This spreadsheet stated that a total of

$152,849,231 had been donated to multiple categories of donation recipients, including

“R[epublican] leadership,” “D[emocratic] leadership,” and others.      A separate tab of this

spreadsheet tracked donations each month of 2022 for different “Entity Helper[s],” with Salame,

Sam Bankman-Fried, or one of nine PACs or super-PACs listed in this category. The GAP+

Spreadsheet also listed “Wins” in a separate tab that included, among others, that “[s]everal

dozen candidates, D[emocrat]s and R[epublican]s, are in congress and owe us favors. We picked

the winner ~80% of the time.”




                                             -33-
              Case 22-11068-JTD     Doc 27543        Filed 11/04/24   Page 34 of 62




        86.     Salame made a substantial portion of his political contributions using Debtor

funds transferred from North Dimension’s Silvergate #8738 account. During the period April

2022 through June 2022, Salame received wire transfers totaling at least $26 million from North

Dimension’s Silvergate #8738 account. See Second Interim Report at 24. During the three

months preceding these transfers, the North Dimension Silvergate #8378 account received at

least $360 million in customer deposits, as well as $330 million in deposits from other FTX

Group accounts, many of which had previously received customer funds. Id. After commingled

funds were transferred from North Dimension’s Silvergate #8738 account to Salame’s personal

bank accounts, Salame used them to make at least $16.6 million in political contributions, $7.4

million of which Salame made using his Signature #0072 account, which was funded entirely by

Plaintiffs.

        87.     Salame made several political contributions to American Dream Federal Action

(“ADFA”), a super-PAC that Salame himself founded. A memorandum prepared for ADFA in

August 2022 by an external public relations firm concerning press strategy stated that Salame

“founded ADFA to elect forward-thinking Republican leaders who understand the importance of

protecting America’s national security from biological threats.” The memorandum explained

that 13 Republican candidates whom ADFA had supported had won their primary election races.

        88.     The same memorandum also listed answers to potential “[d]efensive questions for

which Ryan and the team should be prepared” concerning ADFA’s relationship with GAP and

Sam Bankman-Fried. The memorandum suggested that Salame misleadingly state that Sam

Bankman-Fried “is not involved in ADFA and [Salame is] not involved in [Bankman-Fried’s]

activity on the Democratic side of the aisle.” In actuality, GAP also tracked ADFA’s donations




                                              -34-
               Case 22-11068-JTD      Doc 27543        Filed 11/04/24   Page 35 of 62




in the GAP+ Spreadsheet, which stated that ADFA had donated $12,876,155 in 2022 to

“R[epublican] champions.”

         89.     Salame made five donations totaling $15 million to ADFA in 2022. The vast

majority, if not all, of the funds donated to ADFA can be traced to Debtors’ bank accounts. For

example, the Debtors’ bank records reflect that on May 25, 2022, North Dimension’s Silvergate

#8738 account made two transfers of $1.5 million and $4 million to Salame’s Signature #0072

account. Records reflect that on June 30, 2022, Salame wired $3 million from his Signature

#0072 account to ADFA. An FEC Disclosure Form 3X was later filed with the FEC reflecting

Salame’s $3 million donation to ADFA. 13

         90.     Salame also made many smaller contributions.           From March 12, 2022 to

November 2, 2022, Salame made at least 143 contributions of up to $2,900 each. At that time,

$2,900 was the legal limit on contributions to individual candidates for each of the primary and

general elections. Salame made many of these contributions via WinRed, an online platform for

Republican Party fundraising. Salame funded these donations with misappropriated Debtor

funds.

         91.     In addition to serving as a contributor, Salame facilitated Bankman-Fried’s

campaign finance scheme by coordinating wire transfers at the request of Gabe Bankman-Fried.

For example, on July 23, 2021, Gabe Bankman-Fried emailed Salame concerning “urgent”

political donations, stating that “Sam and I want him to donate $5,800 each (legal max) to

various members of Congress, as well as potentially some related Political Action Committees

(PACs).” Gabe Bankman-Fried instructed Salame that “[t]he money has to come directly from




13
     See Form 3X, American Dream Federal Action, FEC (June 20, 2022), https://docquery.fec.gov/cgi-
     bin/forms/C00809020/1604588/.

                                                -35-
             Case 22-11068-JTD       Doc 27543       Filed 11/04/24   Page 36 of 62




Sam’s personal account,” not a corporate entity, and that “Sam said you were the right person

to coordinate these donations.”

       92.     Over the following months, Salame executed wire transfers at the instruction of

Gabe and/or Sam Bankman-Fried to fund political contributions, including by transferring funds

from Sam Bankman-Fried’s personal bank account and corporate accounts of the Debtors. Gabe

Bankman-Fried wrote to Salame that Sam Bankman-Fried had instructed that Salame could

“route things”—i.e., move misappropriated Debtor funds—“through the prime trust account in

his name”—i.e., through Sam Bankman-Fried’s personal bank account.

       93.     Salame also sought to obscure the funds transferred to him by the Debtors for the

purposes of making political donations by mischaracterizing the transfers as loans.

       94.     In connection with his guilty plea, Salame admitted that the “tens of millions of

dollars in campaign contributions to candidates for public office and political action committees”

were “at the time. . . categorized in both [his] own and Alameda’s ledgers as loans,” but that he

“understood then that the loans would eventually be forgiven and [he] never intended to repay

them.” Plea Tr. at 21:21-22:1, United States v. Salame, No. 22-cr-00673 (S.D.N.Y. Sept. 18,

2023), ECF No. 283. Ellison testified at Bankman-Fried’s trial that Alameda had loaned $35

million to Salame to make donations to Republican candidates. See Trial Tr. at 689:20-690:3,

United States v. Bankman-Fried, No. 22-cr-00673 (S.D.N.Y. Oct. 10, 2023), ECF No. 358; Trial

Tr. at 890:22-24 (Oct. 11, 2023), ECF No. 360.

       95.     Salame’s understanding regarding the loans being forgiven is supported by

contemporaneous documents. In a September 2022 email, for example, Joe Bankman, Sam

Bankman-Fried’s father, wrote, “Alameda has distributed a lot of money to Ryan, which he has




                                              -36-
             Case 22-11068-JTD       Doc 27543        Filed 11/04/24    Page 37 of 62




used to make political donations. (Ryan is the key employee who works on the other side of the

aisle, as it were). Ryan and I talked about categorizing these as loans.”

       96.     The Debtors identified a single promissory note documenting a loan from

Alameda to Salame for $4,993,520.55.          Although this promissory note was executed on

March 30, 2022, it was backdated to January 28, 2022. On April 2, 2022, Alameda transferred

$4,993,520.55 to Salame’s FTX.com exchange account, which Salame subsequently withdrew to

his Greylock #1948 account. On April 3, 2022, Salame started a Signal thread with Ellison and a

senior FTX Group lawyer titled “Ryan Theft.” He wrote in a series of messages that he was

“dropping [him]self” “about 5m” “from alameda” “meow.” He then attached a pdf of the

$4,993,520.55 promissory note. On March 31, 2022, Salame made a $1 million donation to the

ADFA. Salame then contributed another $3,000,000 to ADFA on April 5, 2022. This loan was

a sham, and Salame knew it. Salame testified during his plea allocution that “[w]hile at the time

these funds were categorized in both [his] own and Alameda’s ledgers as loans, [he] understood

then that the loans would eventually be forgiven and [he] never intended to repay them.” Plea

Tr. at 21:23-22:1, United States v. Salame, No. 22-cr-00673 (S.D.N.Y. Sept. 18, 2023), ECF

No. 283.

       97.     Had the FTX Group not imploded in November 2022, Salame’s participation in

the illegal campaign finance scheme would have continued. The GAP+ Spreadsheet projected

that Bankman-Fried, Singh, and Salame would make an additional $151 million of political

contributions in 2023.

               ii. Salame used Debtor assets to fund the congressional campaign of Michelle
                   Bond.

       98.     In his plea agreement, Salame agreed to be held responsible in connection with

his sentencing for “willfully making excessive political contributions to a candidate for federal


                                               -37-
               Case 22-11068-JTD     Doc 27543        Filed 11/04/24   Page 38 of 62




office [Bond] in an amount in excess of the then-applicable limitation on individual

contributions, and exceeding $25,000 in the calendar year 2022, and conspiracy to do the same,

in violation of 18 U.S.C. § 371 and 52 U.S.C. §§ 30109 and 30116.” See Plea Agreement at 2,

United States v. Salame, No. 22-cr-00673 (S.D.N.Y. Sept. 5, 2024), ECF No. 491-2. In 2022,

Bond unsuccessfully ran in a Republican primary election seeking to serve as a Representative

for New York’s 1st Congressional District.        Salame funded Bond’s failed Congressional

campaign with misappropriated Debtor assets.

         99.     On August 19, 2024, Bond was indicted on four counts of conspiring to cause

unlawful political contributions and causing and receiving illegal political contributions,

including a $400,000 donation that was funded entirely with misappropriated Debtor funds. See

Indictment ¶¶ 43-53, United States v. Bond, No. 24-cr-00494 (S.D.N.Y. Aug. 19, 2024), ECF

No. 2.

         100.    On each of June 13 and June 19, 2022, Salame donated $2,900 to Bond’s

campaign, thereby contributing the maximum amount that he could lawfully contribute. Salame

used misappropriated Debtor assets to fund the $5,800 that he contributed to Bond’s campaign.

         101.    Not content with the legal maximum, Salame conspired with Bond to cause

unlawful donations to be made to the Bond campaign, which were funded with additional

misappropriated Debtor assets.

         102.    For example, on or about May 27, 2022, Salame arranged for FDM to enter into a

sham Professional Services Agreement with Bond, which provided for a $400,000 sign on bonus

to Bond as well as an annual payment of $100,000. Salame signed the Professional Services

Agreement on behalf of FDM.




                                               -38-
           Case 22-11068-JTD        Doc 27543        Filed 11/04/24   Page 39 of 62




       103.    Bond did not perform any services for FDM pursuant to the Professional Services

Agreement.

       104.    On or about June 1, 2022, Salame caused FDM to send a $400,000 wire transfer

from its Fidelity Bank (Bahamas) #0275 account to Bond’s personal bank account.            The

$400,000 transfer was made from misappropriated Debtor funds, because prior to June 1, 2022,

FDM’s Fidelity #0275 account was funded entirely by transfers from FTX’s Signature #9018

account. Bond used the $400,000 from the sham Professional Services Agreement with the FTX

Group affiliate to fund her congressional campaign, in violation of the FECA.

       105.    In addition to the $400,000 she received from the Debtors, on or about June 28,

2022, Salame wired $313,544 from his personal Signature #0072 account to Bond’s personal

bank account. The $313,544 represented misappropriated Debtor funds because Salame’s #0072

account was funded entirely by transfers from North Dimension’s Silvergate #8738 account. On

June 29, 2022, Bond wired $300,000 of that money to her campaign’s bank account in two

separate wires. Later that same day, Salame and Bond exchanged text messages, on which

members of the Bond campaign were included, that read:

       Salame:        I can’t see into campaign account, did 100K land today?

       Bond:          I wired $100k (the max online) at about 7 pm last night and was told it
                      would hit today. I just went into the branch and wired another $200k.
                      Can you guys monitor to make sure this $300k clears?

       106.    In addition to sending wires from FTX Group entities and his own bank account

to fund Bond’s campaign, FEC filings and the Debtors’ records reflect that Salame also made

three contributions totaling $867,000 to the super-PAC Stand for New York Committee

(“SNYC”). Salame is not identified on SNYC’s Statement of Organization filed with the FEC,

and the Debtors have not been able to identify records establishing that Salame was involved in

creating SNYC. Nevertheless, Salame is the only publicly disclosed donor to SNYC in FEC

                                              -39-
             Case 22-11068-JTD          Doc 27543        Filed 11/04/24     Page 40 of 62




filings, which also reflect that all of SNYC’s political spending supported Bond or opposed

Bond’s opponent in the primary election. 14 The Debtors’ records reflect that all of the funds that

Salame donated to SNYC were transferred from the North Dimension’s Silvergate #8738

account to Salame’s Signature bank account to SNYC.

        107.    Salame also indirectly supported Bond’s campaign through his contributions to

GMI PAC. Salame served as a director of GMI PAC and described GMI PAC in a January 2022

email to a reporter as a “Super PAC formed in September 2021 to elect pro-crypto members to

the US Senate and US House of Representatives.” Bank records and fund transfer request forms

that Salame submitted to Signature reflect that Salame contributed $1.5 million through three

donations to GMI PAC between 2021 and 2022. FEC filings reflect that in 2022, GMI PAC

transferred $3.15 million to Crypto Innovation PAC, and that Crypto Innovation PAC in turn

spent $1,287,089.70 to support Bond’s campaign. 15

        108.    Even after Bond lost her Congressional primary, Salame made two additional

unlawful contributions to Bond to retire her campaign debt.

        109.    In or about July 2022, in text messages with Bond, Salame stated, in sum and

substance, that Salame would give Bond money to cover her campaign’s debt if she lost the

primary election.

        110.    On August 23, 2022, Bond lost the primary election and the Bond campaign had

unpaid expenses.




14
     See Stand for New York Committee, FEC, https://www.fec.gov/data/committee/C00819391/ (last accessed
     Oct. 10, 2024).
15
     See GMI PAC, Inc., FEC, https://www.fec.gov/data/committee/C00788679/ (last accessed Oct. 30, 2024);
     Crypto Innovation, FEC, https://www.fec.gov/data/committee/C00804732/ (last accessed Oct. 30, 2024).



                                                  -40-
           Case 22-11068-JTD          Doc 27543       Filed 11/04/24    Page 41 of 62




       111.    On or about August 31, 2022, as promised, Salame wired approximately $215,000

from his Signature #0072 account to Bond’s personal bank account. The $215,000 represented

misappropriated Debtor funds, because Salame’s Signature #0072 was funded entirely by

transfers from North Dimension’s #8738 account. Bond wired the $215,000 from her personal

account to her campaign account. The $215,000 was an illegal campaign contribution from

Salame that was funded by the Debtors.

               iii. Salame used assets misappropriated from the Debtors to purchase real-
                    estate for himself, his family and his friends.

       112.    In 2021, Salame embarked on a real estate spending spree, deciding to “cash out

and get more involved in real world things” by, among other things, buying up restaurants,

condos, and other rental properties. Tucker Carlson Interview at 00:06:01, 01:07:40. Salame

admitted during the Tucker Carlson interview that he “borrowed money [from Alameda], and

then [he] went and did a lot of things with that money. . . [including] [buying] a house with that

money.” Id. at 00:06:21.

       113.    Salame purchased at least 15 properties using more than $20 million in

misappropriated Debtor funds, as reflected in the chart that follows:

       Date              Purchase                          Property Purchased
                          Price
 April-July, 2021       $422,855.62     Jalan Raya Semer Pertokoan Kencana No. 1, Lingkungan
                                        Dukuh Sari, Kelurahan Kerobokan Kelod, Kecamatan
                                        Kuta Utara, Kabupaten Dalung, Bali, Indonesia
   May 25, 2021            $250,000     130 Padre Boulevard, Unit 611, South Padre Island, TX
   May 28, 2021         $1,250,000      29 Church Street, Lenox, MA
   June 11, 2021           $575,000     334 Padre Boulevard, Unit 1200, South Padre Island, TX
    July 8, 2021           $185,000     121 E. Scallop, Port Isabel, TX
 August 27, 2021        $1,300,000      Airstrip and adjacent land, North Canaan, CT
  October 5, 2021       $1,175,000      E11even Hotel & Residences, Unit 4503, 20 NE 11th St,
                                        Miami, FL

                                               -41-
           Case 22-11068-JTD        Doc 27543       Filed 11/04/24   Page 42 of 62




       Date             Purchase                         Property Purchased
                         Price
 October 15, 2021       $625,000      9 Franklin Street, Lenox, MA
November 30, 2021      $7,235,000     Unit No. 3A, Marina Residences, Albany Building 10
                                      Condominium, Bahamas
December 1, 2021       $1,250,000     80 Church Street, Lenox, MA
December 3, 2021        $300,000      6 Tucker Street, Lenox, MA
December 8, 2021        $597,000      53 Rood Hill Road, Sandisfield, MA
   April 1, 2022       $1,200,000     27 Housatonic Street, Lenox, MA
   May 1, 2022          $680,000      122 E. Scallop, Port Isabel, TX
   June 9, 2022        $3,995,000     9800 Avenel Farm Drive, Potomac, MD

       114.   For example, on August 2, 2021, Salame withdrew US $1,200,000 from his

FTX.com account to his personal Greylock #1948 account. On August 27, 2021, he withdrew an

additional 100,000 USDC from his FTX.com account. On August 27, 2021, Salame purchased

an airstrip and adjacent land, located at 543 and 547 West Main, North Canaan, CT, for

$1,300,000.

       115.   As another example, on October 2, 2021, Salame executed a purchase agreement

and crypto addendum with 11th Street Condo Owner, LLC d/b/a E11even Hotel & Residences to

purchase E11even Hotel & Residences, Unit 4503, 20 NE 11th St, Miami, FL, a 1,093 square

foot, two-bedroom, two-bathroom apartment unit at the yet to be constructed luxury high rise

condominium in Downtown Miami’s Park West district. On October 4, 2021, Salame received

an invoice for USDC 1,175,000 from E11even. On October 5, 2021, Salame withdrew USDC

1,175,000 from his FTX.Com account to fund the purchase of the property.

       116.   Salame was also the beneficiary of a luxury real estate purchase made by the

Debtors for Salame’s personal benefit. Specifically, on September 21, 2021, Salame executed an

agreement to purchase a four-bedroom, four-and-a-half-bath apartment at the Marina Residences



                                             -42-
           Case 22-11068-JTD         Doc 27543       Filed 11/04/24    Page 43 of 62




at the Albany—a luxury resort community—in the Bahamas for $7,235,000. Although the deed

was in Salame’s name, the apartment purchase was funded by transfers from the Debtors.

Salame returned this property to the Debtors in satisfaction of the approximately $5.6 million in

restitution he owed under his plea agreement. [D.I. 15504]

       117.    In addition to the abovementioned properties, on information and belief, Salame

used misappropriated Debtor funds to acquire at least two properties post-petition.           On

approximately December 2, 2022, Salame purchased a three-bedroom, three-bathroom condo,

1098 E. Scallop, Port Isabel, TX for approximately $439,000, allegedly with the sale proceeds of

another property he had purchased with Debtor funds. In 2023, Salame acquired a “tourist rental

unit” located at Martinhal Residences, Praça Príncipe Perfeito, Numeros 1, 1a e 1b, Parque das

Nações, Lisboa, Portugal. Martinhal Residences advertises that it provides apartment units to

assist residents in obtaining “Golden Visa[s].” Martinhal Residences (last accessed Oct. 22,

2024), https://www.martinhalresidences.com/pt/investir-em-portugal/.

               iv. Salame used millions of dollars in Debtor assets misappropriated from
                   Plaintiffs to purchase businesses and fund investments.

       118.    Salame also used millions of dollars of misappropriated Debtor assets to fund his

purchases of businesses and various investments.

       119.    Between April 2021 and December 2021, Salame, often via holding companies he

owned, purchased two full-service restaurants as well as an ice-cream parlor, and launched a

catering and food truck businesses, a portfolio he styled as the “Lenox Eats Collective.” In April

2021, Salame, via his holding company, North Sandy Brook, LLC, acquired The Olde Heritage

Tavern at 12 Housatonic Street, Lenox, MA, together with the property on which the restaurant

is located, for approximately $1.5 million. In approximately November 2021, Salame acquired

for an undisclosed price The Scoop, an ice cream parlor at 51 Church Street, Lenox, MA, which


                                              -43-
             Case 22-11068-JTD            Doc 27543         Filed 11/04/24      Page 44 of 62




was reopened in February 2022 as a bakery and cafe named Sweet Dreams. In December 2021,

Salame, via North Sandy Brook, LLC, acquired Café Lucia, located at 80 Church Street, Lenox,

MA as well as the real estate on which the café was located for approximately $1.25 million. As

a result of these transactions, Salame owned nearly half of the full-service restaurants in Lenox,

Massachusetts by the end of 2021. 16

         120.    In December 2021, Salame invested a further $2.5 million to acquire a 40%

ownership interest in JBK International Ltd., which operated a steakhouse in The Bahamas

called Prime One, located at Windsor Field Road, Nassau, The Bahamas.

         121.    Salame also acquired stakes in two Hong Kong gym entities:                    TCD Fitness

Limited and Flex Fitness Limited. In April 2021, Salame purchased a 25% ownership in TCD

Fitness, which owns a gym in Hong Kong (located at 7th Floor, Morrison Plaza, No. 9 Morrison

Hill Road, Wan Chai, Hong Kong); his ownership increased to approximately 46% in June 2022,

after he purchased newly issued shares in the entity. 17 In June 2021, Salame purchased a 25%

ownership in Flex Fitness Limited; at the end of 2021, Salame’s ownership had increased to

approximately 27%.

         122.    In July and August 2022, using funds from his Signature #0072 account (which,

again, was funded entirely by the Debtors), Salame invested $2.3 million in RedBird.

         123.    The foregoing purchases coincided with Salame’s receipt of tens of millions of

dollars in fraudulent transfers from Plaintiffs to his personal accounts. Upon information and

belief, Salame made these purchases with misappropriated Debtor funds.



16
     Clarence Fanto, At 28, Bitcoin tycoon Ryan Salame owns nearly half the full-service restaurants in Lenox,
     BERKSHIRE EAGLE (Nov. 30, 2021), https://www.berkshireeagle.com/business/sandisfield-native-ryan-salame-
     cryptocurrency-lenox-restaurant-empire/article_8d2a2cc2-5205-11ec-af1b-d769f18cf13c.html.
17
     According to TCD Fitness’s most recent annual filing from April 2024, Salame still owned approximately 46%
     of TCD Fitness. Salame resigned as a director of TCD Fitness on August 30, 2024.

                                                     -44-
           Case 22-11068-JTD         Doc 27543        Filed 11/04/24   Page 45 of 62




               v. Salame used assets misappropriated from the Debtors to make extravagant
                  purchases, including a private jet.

       124.    In addition to purchasing homes and restaurants, Salame arranged for the

purchase of a Bombardier Global 5000 private jet (the “Global”) using funds provided by

Alameda. Salame made arrangements for the Global to be purchased in the name Island Air

Capital (“IAC”), a holding company of Trans Island Airways (“TIA”), which is a company that

provides private charter flights in the Bahamas.

       125.    Salame facilitated the purchase of the Global in order to shield the FTX Group

and Bankman-Fried from the negative publicity associated with owning such an extravagant

asset. Bankman-Fried wanted a private jet, but he did not want the public to know that the FTX

Group owned one. Internal records indicate that Bankman-Fried considered private jets an

“extremely sensitive topic” that should not be “br[ought] [] up” because of “concern[s] about

PR.”   Therefore, instead of purchasing the jet himself, Bankman-Fried directed Salame to

arrange the purchase of the $15.9 million Global for the use of Salame and the FTX Insiders.

       126.    On February 1, 2022, TIA entered into a letter of intent to purchase the Global for

$15.9 million. On February 2, 2022, Paul Aranha, the owner of the TIA, wrote to Salame, “I

have attached the LOI and escrow instructions for the Global 5000. If you could send the

$500,000 refundable deposit to the escrow agent and let me know when sent it would be great.”

That same day, Salame caused Alameda to transfer $500,000 of commingled, misappropriated

funds from Alameda’s Silvergate #4456 account directly to the escrow agent.

       127.    On February 28, 2022, Salame received another email from Aranha, this time

stating, “We are ready to accept the aircraft.        Can you please arrange for the balance of

$15,400,000.00” to be paid to the escrow agent. The very next day, Salame caused Alameda to

transfer 15.4 million USDC to Salame’s account on the FTX.com exchange. Bank records


                                               -45-
              Case 22-11068-JTD            Doc 27543         Filed 11/04/24       Page 46 of 62




reflect that on March 2, 2022, $15.4 million was withdrawn from North Dimension’s Silvergate

#8738 bank account with the memo field reflecting the name of the escrow agent. And on

March 3, 2022, Salame initiated an on-exchange transfer of $15.4 million from his FTX.com

account to the escrow agent to fund the purchase of the Global. 18

         128.     Additionally, in July 2022, using funds from his Signature #0072 account (which,

again, was funded entirely by the Debtors), Salame purchased a car from Lincoln Motor

Company, Ford Motor Company’s luxury vehicle division, for $63,924. 19

                  vi. Salame used Debtor assets to finance a Covid-19 documentary that was
                      never made.

         129.     On June 30, 2022, Bankman-Fried engaged in a Slack conversation with an

employee of the FTX Foundation about funding a Covid-19 documentary. The FTX Foundation

employee described the project as “$637,674 for On Ten (production company) to make a

documentary on the origins of SARS-CoV-2” and added “we’d like to fund via Ryan.”

Bankman-Fried responded “got it—no objections.” On July 15, 2022, the same FTX Foundation

employee raised an additional request to pay an Effective Altruist activist $118,590 for a year’s

work related to the documentary. Subsequently, on August 5, 2022, Salame transferred from his

Signature #0072 account, which was funded entirely by transfers from North Dimension’s

Silvergate #8738 account, $756,264—the exact amount requested by the FTX Foundation

employee, for the documentary and the individual’s salary—to On Ten Productions Limited, a

UK based company that had been incorporated less than a month earlier.

         130.     On Ten never made the documentary.                   Plaintiffs have not identified any

documentation justifying this transfer, for which the Debtors received no value.



18
     The government has seized the Global.
19
     Salame may have purchased additional luxury vehicles, such as his Porsche 911, with Debtor funds.

                                                      -46-
              Case 22-11068-JTD        Doc 27543        Filed 11/04/24    Page 47 of 62




       C.       Salame Abused His Insider Knowledge as CEO of FDM to Make
                Withdrawals from his Personal FTX.com Exchange Account Just Prior to
                FTX.com Halting Customer Withdrawals.

       131.     On November 7, 2022, at 7:31 pm EST, after learning that FTX.com would be

halting customer withdrawals imminently due to lack of funds, Salame abused his position of

trust within the FTX Group by withdrawing $5 million from his personal FTX.com account,

thereby directly benefitting himself at the expense of the FTX Group’s creditors. Salame tried to

withdraw tens of millions more that evening, but the withdrawals were not successful. He

subsequently spent some of the withdrawn funds to hire a public relations firm and payoff

personal credit expenses, including $20,000 in Restoration Hardware charges that he incurred

after the Petition Date. See Gov’t’s Sent’g Mem. at 11 (citing PSR ¶ 41). During Salame’s

sentencing, Judge Kaplan rebuked Salame for his greed and self-interest, even as FTX was

collapsing:

                I don't have to look that far for greed. As the government has
                made clear, when it became apparent that FTX was on the brink of
                bankruptcy and was at the least a billion dollars in the hole, you
                pulled $5 million in cryptocurrency from an account you
                controlled at FTX into your own crypto wallet. You tried to
                withdraw tens of millions more that day, but the withdrawals
                failed, the further withdrawals. And you spent millions from the
                more than $5 million you got out just before the collapse came on
                hiring a public relations firm, paying off personal obligations, and
                the like. It was me first, I'm getting in the life boat first, the heck
                with all those customers.

Sent’g Tr. at 22:3–17, United States v. Salame, No. 22-cr-00673 (S.D.N.Y. May 28, 2024), ECF

No. 448. On the morning of November 11, the same day that the FTX Group voluntarily

commenced Chapter 11 Proceedings in the District of Delaware, Salame emptied his FTX.US

account balance of approximately $610,000.




                                                 -47-
              Case 22-11068-JTD              Doc 27543          Filed 11/04/24        Page 48 of 62




         132.     These improper withdrawals are paradigmatic preferential transfers that can and

should be clawed back. 20

V.       The Transfers Were Made When Plaintiffs Were Insolvent, and Salame Knew It.

         133.     “From at least in or about 2019, up to and including in or about November 2022,”

Bankman-Fried “corrupted the operations of the cryptocurrency companies he founded and

controlled . . . through a pattern of fraudulent schemes . . . .” Superseding Indictment ¶ 1, United

States v. Bankman-Fried, No. 22-cr-00673 (S.D.N.Y. Feb. 23, 2023), ECF No. 80.

         134.     Salame and the FTX Insiders failed to implement the systems or controls

necessary for companies entrusted with large amounts of customer money or other assets. At the

direction of the FTX Insiders, and with material assistance from Salame, the FTX Group

concealed its failing financial condition by misappropriating billions of dollars in cash,

cryptocurrency, and other assets from customer accounts. The FTX Insiders, working with

Salame, accomplished this through multiple deceptions, including lying to customers about the

segregation and safety of their accounts, and creating a series of secret mechanisms by which

assets could be transferred within the Debtors’ capital structure and, ultimately, out of the

Debtors’ custody. This “multi-billion-dollar fraud” was executed “through a series of systems

and schemes that allowed” Bankman-Fried and other FTX executives “to access and steal FTX

customer deposits without detection.” Id. ¶ 4.

         135.     From the beginning of the FTX.com exchange, funds that customers intended to

be deposited on the exchange in fact were deposited—with the FTX Insiders’ and Salame’s

knowledge or assistance—in Alameda or North Dimension bank accounts. At the same time,


20
     In satisfaction of the restitution Salame owed the Debtors for a $5 million preferential transfer on the eve of the
     Bankruptcy, Salame provided the Debtors with title to the Bahamas Apartment. See Order Authorizing the
     Debtors to Enter Into a Stipulation Relating to the Satisfaction of the Restitution Amount That Ryan Salame
     Owes the Debtors Under His Plea Agreement [D.I. 15504].

                                                         -48-
             Case 22-11068-JTD        Doc 27543        Filed 11/04/24   Page 49 of 62




although FTX’s software code base generally did not allow an account on the exchange to carry

a negative balance, in or around July 2019, Bankman-Fried directed Wang and Singh to modify

the software to permit Alameda to maintain a negative balance in its account on the exchange.

Id. ¶ 23.

          136.   Through these schemes, the FTX Insiders caused Alameda to avoid collateralizing

its position on the exchange. The FTX Insiders also caused Alameda to maintain a negative

balance on the exchange and utilize the exchange to trade and withdraw assets without limit,

giving it a virtually unlimited “line of credit” collateralized by the customer deposits on the

exchange. As a result of this tampering, the exchange began running very large deficits. By

March 2022, Ellison privately estimated that the exchange had a cash deficit alone of more than

$10 billion. See, e.g., Trial Tr. at 1060:10-13, United States v. Bankman-Fried, No. 22-cr-00673

(S.D.N.Y. Oct. 10, 2023) (responding to a question of when she first became concerned that

Alameda might be insolvent, Ellison responded “I think this was in around May of 2022”); id. at

789:11-25 (regarding Gov’t Ex. 44, a June 19, 2022 spreadsheet listing $9.9 billion in borrows

from FTX customers, Ellison testified that it made “clear that Alameda was in a risky situation

because if customers tried to withdraw those funds, then we wouldn’t be able to pay them

back”).

          137.   The FTX Insiders’ misappropriation of funds, including the large transfers of fiat

and cryptocurrency to Salame for no apparent legitimate business purpose, rendered the FTX

Group insolvent. Even without accounting for the distorting effects of the staggering fraud, the

FTX Group’s liabilities exceeded the fair value of their assets, and the FTX Group lacked

sufficient cash, cryptocurrency, and other assets to cover customer accounts and their creditors’




                                                -49-
           Case 22-11068-JTD         Doc 27543        Filed 11/04/24   Page 50 of 62




claims. The FTX Group continued to operate only by continually lying to customers and other

creditors about their financial condition and their pervasive misuse of customer funds.

       138.    Ellison admitted to this conduct in her plea allocution, stating that (a) from 2019

through 2022, Alameda used FTX.com funds to finance investments or repay loans; (b) from

July 2022 through at least October 2022, she agreed with Bankman-Fried and others to provide

materially misleading financial statements to Alameda’s lenders; and (c) she had understood that

Bankman-Fried and others had made investments with funds from FTX.com in the name of

Alameda in order to conceal the true source of those funds. Plea Tr. at 27:5-29:1, United States

v. Ellison, No. 22-cr-00673 (S.D.N.Y. Dec. 19, 2022), ECF No. 19.            Singh made similar

admissions during his plea allocution. See Plea Tr. at 28:12-29:21, United States v. Singh,

No.22-cr-00673 (S.D.N.Y. Mar. 7, 2023), ECF No. 102.

       139.    On November 2, 2023, Bankman-Fried was found guilty of various felonies

arising out of, among other things, Bankman-Fried’s causing Alameda to misappropriate

FTX.com funds and Bankman-Fried’s misrepresenting to lenders and investors the financial

condition of Alameda, FTX.com, and FTX US.

VI.    The Transfers Involved Multiple Badges of Fraud Evidencing Actual Intent to
       Hinder, Delay, or Defraud Creditors.

       140.    As set forth above, multiple badges of fraud recognized by bankruptcy law and

the Delaware code permeate the transfers made and obligations incurred, including that:

                  a. Salame was an insider of the FTX Group and a close associate of
                     Bankman-Fried;

                  b. The transfers were part of a scheme to enrich and otherwise benefit
                     Salame;

                  c. Numerous material facts relating to the transfers were concealed;

                  d. Salame removed or concealed Plaintiffs’ assets;


                                               -50-
            Case 22-11068-JTD          Doc 27543       Filed 11/04/24   Page 51 of 62




                    e. The value of the consideration received by Plaintiffs was not reasonably
                       equivalent to the value of the assets transferred or the amount of the
                       obligations incurred; and

                    f. Plaintiffs were insolvent when, or became insolvent shortly after, the
                       transfers were made.

                                          *      *        *

                                       CAUSES OF ACTION

                                     COUNT ONE
                        FRAUDULENT TRANSFERS AND OBLIGATIONS
                            PURSUANT TO 11 U.S.C. § 548(A)(1)(A)

        141.    Plaintiffs repeat and reallege the allegations in paragraphs 1 through 140 as if

fully set forth here.

        142.    Plaintiffs made the transfers to Salame addressed herein, including the transfers

more specifically described in Exhibits A and B, from November 2020 to November 2022.

Each of the transfers to Salame was a transfer of property of Plaintiffs.

        143.    Each of these transfers to Salame was made with the intent to hinder, delay, or

defraud present or future creditors.

        144.    Accordingly, each of these transfers should be avoided as fraudulent pursuant to

Section 548(a)(1)(A) of the Bankruptcy Code, and Plaintiffs may recover from Salame the full

amount of such transfers, plus interest from the relevant dates, and costs and fees to the extent

available, for the benefit of the Debtors’ bankruptcy estates.

                                     COUNT TWO
                        FRAUDULENT TRANSFERS AND OBLIGATIONS
                            PURSUANT TO 11 U.S.C. § 548(a)(1)(B)

        145.    Plaintiffs repeat and reallege the allegations in paragraphs 1 through 144 as if

fully set forth here.




                                                -51-
             Case 22-11068-JTD         Doc 27543        Filed 11/04/24   Page 52 of 62




        146.      Plaintiffs made the transfers to Salame addressed herein, including the transfers

more specifically described in Exhibits A and B, from November 2020 to November 2022.

Each of the transfers to Salame was a transfer of property of Plaintiffs.

        147.      Plaintiffs did not receive reasonably equivalent value in exchange for any of the

transfers.

        148.      Each of the Plaintiffs: (1) was insolvent on the date that each transfer was made;

(2) became insolvent as a result of these transfers; (3) was engaged in a business or a transaction

for which any property remaining with the Plaintiff was an unreasonably small capital; or

(4) intended to incur, or believed that it would incur, debts that would be beyond Plaintiffs’

ability to repay as such debts matured.

        149.      Accordingly, each of these transfers and obligations should be avoided as

fraudulent pursuant to Section 548(a)(1)(B) of the Bankruptcy Code, and Plaintiffs may recover

from Salame the full amount of such transfers, plus interest from the relevant dates, and costs

and fees to the extent available, for the benefit of the Debtors’ bankruptcy estates.

                                 COUNT THREE
             FRAUDULENT TRANSFERS AND OBLIGATIONS PURSUANT TO
               DEL. CODE ANN. TIT. 6, § 1304(a)(1) AND 11 U.S.C. § 544(b)

        150.      Plaintiffs repeat and reallege the allegations in paragraphs 1 through 149 as if

fully set forth here.

        151.      Section 544(b) of the Bankruptcy Code authorizes Plaintiffs to avoid any transfer

of an interest in their property or any obligation incurred by them that is voidable under

applicable law by a creditor holding an allowable unsecured claim. Accordingly, fraudulent

transfers and obligations are avoidable pursuant to Bankruptcy Code Section 544(b) and other

applicable law, including the Delaware Uniform Fraudulent Transfer Act, Del. Code Ann. tit. 6,

§ 1301, et seq.

                                                 -52-
            Case 22-11068-JTD          Doc 27543        Filed 11/04/24   Page 53 of 62




        152.      Plaintiffs made the transfers addressed herein, including the transfers more

specifically described in Exhibits A and B, from November 2020 to November 2022 for the

benefit of Salame. Each of the transfers constituted a transfer of property of Plaintiffs.

        153.      Each of these transfers was made with actual intent to hinder, delay, or defraud

Plaintiffs’ present or future creditors, including creditors who hold allowable unsecured claims.

Each of the transfers is avoidable by creditors who hold allowable unsecured claims.

        154.      Accordingly, each of the transfers should be avoided as fraudulent pursuant to

Del. Code Ann. tit. 6, § 1304(a)(1) and 11 U.S.C. § 544(b), and Plaintiffs may recover from

Salame the full amount of such transfers, plus interest from the relevant dates, and costs and fees

to the extent available, for the benefit of the Debtors’ bankruptcy estates.

                                  COUNT FOUR
           FRAUDULENT TRANSFERS AND OBLIGATIONS PURSUANT TO
           DEL. CODE ANN. TIT. 6, §§ 1304(a)(2), 1305 AND 11 U.S.C. § 544(b)

        155.      Plaintiffs repeat and reallege the allegations in paragraphs 1 through 154 as if

fully set forth here.

        156.      Section 544(b) of the Bankruptcy Code authorizes Plaintiffs to avoid any transfer

of an interest in their property or any obligation incurred by them that is voidable under

applicable law by a creditor holding an allowable unsecured claim. Accordingly, fraudulent

transfers and obligations are avoidable pursuant to Bankruptcy Code Section 544(b) and other

applicable law, including the Delaware Uniform Fraudulent Transfer Act, Del. Code Ann. tit. 6,

§ 1301, et seq.

        157.      Plaintiffs made the transfers to Salame addressed herein, including the transfers

more specifically described in Exhibits A and B, from November 2020 to November 2022.

Each of the transfers was a transfer of property of Plaintiffs.



                                                 -53-
             Case 22-11068-JTD        Doc 27543        Filed 11/04/24    Page 54 of 62




        158.    Plaintiffs did not receive reasonably equivalent value in exchange for any of these

transfers.

        159.    Each of the Plaintiffs: (1) was insolvent on the date that each transfer was made;

(2) became insolvent as a result of these transfers; (3) engaged or was about to engage in a

business or a transaction for which the remaining assets of the Plaintiff were unreasonably small

in relation to the business or transaction; or (4) intended to incur, believed that it would incur, or

reasonably should have believed that it would incur debts that would be beyond the Plaintiff’s

ability to repay as such debts became due.

        160.    Each of the transfers is avoidable by creditors who hold allowable unsecured

claims, including creditors who were creditors before the transfers.

        161.    Accordingly, each of these transfers should be avoided as fraudulent pursuant to

Del. Code Ann. tit. 6, §§1304(a)(2) and 1305, and 11 U.S.C. §544(b), and Plaintiffs may recover

from Salame the full amount of such transfers, plus interest from the relevant dates, and costs

and fees to the extent available, for the benefit of the Debtors’ bankruptcy estates and/or other

such remedies as necessary, to put the Debtors in the position they would have been in had the

avoidable transfers alleged herein not occurred.

                                 COUNT FIVE
               PREFERENTIAL TRANSFER PURSUANT TO 11 U.S.C. § 547(b)

        162.    Plaintiffs repeat and reallege the allegations in paragraphs 1 through 161 as if

fully set forth here.

        163.    Plaintiffs transferred approximately $82.6 million to Salame during the Preference

Period, including approximately $52.9 million in wire transfers from Debtor bank accounts to

Salame’s bank accounts as reflected in Exhibit A.           Salame also received the benefit of




                                                -54-
              Case 22-11068-JTD            Doc 27543          Filed 11/04/24       Page 55 of 62




approximately $29.8 million21 in withdrawals from his FTX.com and FTX.US exchange

accounts, which constituted transfers from FTX.com and FTX.US during the Preference Period,

as more specifically described in Exhibit C. These transfers were transfers of property of

Plaintiffs.

         164.     The transfers were made solely to benefit Salame.

         165.     With respect to the transfers, Salame was a creditor of Plaintiffs (within the

meaning of 11 U.S.C. § 101(10)), or, alternately, Salame received such transfers for the benefit

of a creditor or creditors of Plaintiffs.

         166.     The transfers to Salame were made on account of an antecedent debt.

         167.     Salame is an insider for purposes of § 547(b), as he was a “person in control” of

the Plaintiffs—having made management decisions of the Plaintiffs, directed payment of the

Plaintiffs’ expenses, and had more ability to assert control than other creditors—and/or had a

close relationship with the Plaintiffs and the transactions the Plaintiffs are seeking to avoid were

not conducted at arm’s length.

         168.     Each of the transfers was made while the transferor was insolvent.

         169.     Each of the transfers enabled Salame to receive more than he would have received

if: (i) Plaintiffs’ Chapter 11 Cases were cases under Chapter 7 of the Bankruptcy Code; (ii) the

transfer had not been made; and (iii) the amount paid to Salame on account of the debt were

determined by the Bankruptcy Code.

         170.     Salame has not returned the approximately $82.6 million transferred to him

during the Preference Period.



21
     This number excludes the $5 million withdrawal that Salame made on the eve of bankruptcy that Salame was
     required to repay as restitution under his Plea Agreement. See Plea Agreement at 2-3, United States v. Salame,
     No. 22-cr-00673 (S.D.N.Y. Sept. 5, 2024), ECF No. 491-2; Gov’t’s Sent’g Mem. at 12.

                                                       -55-
            Case 22-11068-JTD        Doc 27543           Filed 11/04/24   Page 56 of 62




        171.    Pursuant to 11 U.S.C. § 547(b), Plaintiffs have undertaken reasonable due

diligence in the circumstances of the case and have taken into account known or reasonably

knowable affirmative defenses and believe that these transfers are avoidable.

        172.    Accordingly, each of these transfers should be avoided as a preference pursuant to

Section 547(b) of the Bankruptcy Code, and Plaintiffs may recover from Salame the full amount

of the transfers, plus interest from the transfer dates, and costs and fees to the extent available,

for the benefit of the Debtors’ bankruptcy estates.

                                COUNT SIX
               PROPERTY RECOVERY PURSUANT TO 11 U.S.C. § 550(a)(1)

        173.    Plaintiffs repeat and reallege the allegations in paragraphs 1 through 172 as if

fully set forth here.

        174.    As alleged above, Plaintiffs are entitled to avoid each of the transfers addressed

herein under Sections 544, 547, and 548 of the Bankruptcy Code.

        175.    Because Salame is the initial transferee for whose benefit such transfers were

made, Plaintiffs may recover from Salame the full value of the transfers pursuant to 11 U.S.C.

§ 550(a)(1), plus interest from the transfer dates, and costs and fees to the extent available, for

the benefit of the Debtors’ bankruptcy estates.

                              COUNT SEVEN
          AIDING AND ABETTING BREACH OF FIDUCIARY DUTIES UNDER
                             DELAWARE LAW

        176.    Plaintiffs repeat and reallege the allegations in paragraphs 1 through 175 as if

fully set forth here.

        177.    The FTX Insiders breached their fiduciary duties by, among other things:

(1) secretly diverting funds from FTX and FTX US for their own personal benefit;

(2) orchestrating improper purported personal “loans” from the FTX Group for their own


                                                  -56-
            Case 22-11068-JTD          Doc 27543        Filed 11/04/24   Page 57 of 62




personal benefit; and (3) using FTX Group funds to purchase assets for their own personal

benefit or use.

        178.      Salame aided and abetted these breaches of duties by, among other things:

                     a. Failing to implement or cause to be implemented internal controls that
                        would have prevented the wrongdoing alleged herein;

                     b. Actively contributing to a lack of experienced management that would
                        have prevented the wrongdoing alleged herein;

                     c. Participating in and enabling a fraudulent scheme to commingle customer
                        and corporate funds that he and the FTX Insiders misappropriated for their
                        personal benefit, including by instructing employees to convey false
                        information to banks to open accounts for new entities to facilitate the
                        commingling and misuse of customer deposits;

                     d. Authorizing and engaging in extensive self-dealing;

                     e. Abusing or allowing abuse of positions in various FTX Group entities—
                        including Alameda LLC—for his personal gain and to the detriment of the
                        FTX Group; and

                     f. Using funds from corporate bank accounts, at the direction of the FTX
                        Insiders, to make political donations in his own name, and in so doing
                        violating federal election laws.

        179.      As a direct and proximate result of the foregoing, Plaintiffs Alameda LLC and

WRS were damaged in an amount to be determined at trial.

                              COUNT EIGHT
          AIDING AND ABETTING BREACH OF FIDUCIARY DUTIES UNDER
                        ANTIGUA AND BARBUDA LAW

        180.      Plaintiffs repeat and reallege the allegations in paragraphs 1 through 179 as if

fully set forth here.

        181.      The FTX Insiders breached their fiduciary duties for the reasons set forth in

paragraphs 31-40.




                                                 -57-
            Case 22-11068-JTD        Doc 27543        Filed 11/04/24   Page 58 of 62




        182.    Salame aided and abetted these breaches of duties by, among other things:

                    a. Failing to implement or cause to be implemented internal controls that
                       would have prevented the wrongdoing alleged herein;

                    b. Actively contributing to a lack of experienced management that would
                       have prevented the wrongdoing alleged herein;

                    c. Participating in and enabling a fraudulent scheme to commingle customer
                       and corporate funds that he and the FTX Insiders misappropriated for their
                       personal benefit, including by instructing employees to convey false
                       information to banks to open accounts for new entities to facilitate the
                       commingling and misuse of customer deposits;

                    d. Authorizing and engaging in extensive self-dealing; and

                    e. Abusing or allowing abuse of positions in various FTX Group entities—
                       including FTX—for his personal gain and to the detriment of the FTX
                       Group.

        183.    As a direct and proximate result of the foregoing, the Plaintiff FTX was damaged

in an amount to be determined at trial.

                            COUNT NINE
  KNOWING ASSISTANCE IN BREACH OF FIDUCIARY DUTIES UNDER BRITISH
                        VIRGIN ISLANDS LAW

        184.    Plaintiffs repeat and reallege the allegations in paragraphs 1 through 183 as if

fully set forth here.

        185.    The FTX Insiders breached their fiduciary duties for the reasons set forth in

paragraphs 31-40.

        186.    Salame assisted in these breaches of fiduciary duties and acted with a dishonest

mind by, among other things:

                    a. Failing to implement or cause to be implemented internal controls that
                       would have prevented the wrongdoing alleged herein;

                    b. Actively contributing to a lack of internal controls that would have
                       prevented the wrongdoing alleged herein;

                    c. Participating in and enabling a fraudulent scheme to commingle customer
                       and corporate funds that he and the FTX Insiders misappropriated for their

                                               -58-
            Case 22-11068-JTD        Doc 27543        Filed 11/04/24   Page 59 of 62




                        personal benefit, including by instructing employees to convey false
                        information to banks to open accounts for new entities to facilitate the
                        commingling and misuse of customer deposits;

                    d. Authorizing and engaging in extensive self-dealing; and

                    e. Abusing or allowing abuse of positions in various FTX Group entities—
                       including FTX—for his personal gain and to the detriment of the FTX
                       Group.

        187.    As a direct and proximate result of the foregoing, Plaintiff Alameda was damaged

in an amount to be determined at trial.

                              COUNT TEN
            DISALLOWANCE OF CLAIMS PURSUANT TO 11 U.S.C. § 502(d)

        188.    Plaintiffs repeat and reallege the allegations in paragraphs 1 through 187 as if

fully set forth here.

        189.    By reason of the foregoing facts and pursuant to Section 502(d) of the Bankruptcy

Code, Salame’s claims in these Chapter 11 Cases should be disallowed unless and until Salame

has turned over to Plaintiffs the property transferred, or paid Plaintiffs the value of such

transferred property, for which Salame is liable pursuant to Section 550 of the Bankruptcy Code.

                         COUNT ELEVEN
  EQUITABLE SUBORDINATION OF CLAIMS PURSUANT TO 11 U.S.C. § 510(c)(1)

        190.    Plaintiffs repeat and reallege the allegations in paragraphs 1 through 189 as if

fully set forth here.

        191.    By reason of the foregoing facts and pursuant to Section 510(c) of the Bankruptcy

Code, the claims of Salame in these bankruptcy proceedings should be equitably subordinated to

the claims of innocent creditors who had no part in the illegal and fraudulent misappropriation of

customer funds.

        192.    Equitable subordination as requested herein is consistent with the provisions and

purposes of the Bankruptcy Code.

                                               -59-
           Case 22-11068-JTD          Doc 27543        Filed 11/04/24   Page 60 of 62




                                    PRAYER FOR RELIEF

       WHEREFORE Plaintiffs respectfully pray that this Court:

       193.    Enter an order that the transfers addressed herein are avoidable fraudulent

transfers and preferences under 11 U.S.C. §§ 544, 547, 548, and 550 and Del. Code Ann. tit. 6,

§§ 1304, 1305;

       194.    Award Plaintiffs (a) return of property to the Debtors’ estates that is the subject of

the avoidable transfers alleged herein, including but not limited to the real property located at

(i) 9800 Avenel Farm Drive, Potomac, MD; (ii) 543 and 547 West Main, North Canaan, CT,

(iii) E11even Hotel & Residences, Unit 4503, 20 NE 11th St, Miami, FL, (iv) the unit located at

Martinhal Residences, Praça Príncipe Perfeito, Numeros 1, 1a e 1b, Parque das Nações, Lisboa,

Portugal, (v) Salame’s interests in 7th Floor, Morrison Plaza, No. 9 Morrison Hill Road, Wan

Chai, Hong Kong, and (vi) Jalan Raya Semer Pertokoan Kencana No. 1, Lingkungan Dukuh

Sari, Kelurahan Kerobokan Kelod, Kecamatan Kuta Utara, Kabupaten Dalung, Bali, Indonesia;

(b) monetary damages under 11 U.S.C. § 550 reflecting the value of the avoidable transfers

alleged herein (plus the value of any additional avoidable transfers Plaintiffs learn, through

discovery or otherwise, were made to Salame during the Avoidance Period); and/or (c) equitable

relief, as necessary, to put the Debtors in the position they would have been in had the avoidable

transfers alleged herein not occurred;

       195.    Enter an order under 11 U.S.C. § 502(d) disallowing any and all claims filed or

held by Salame in these bankruptcy proceedings unless and until Salame has turned over to

Plaintiffs the amount ordered as an award, or, in the alternative, enter an order under 11 U.S.C.

§ 510(c)(1) subordinating any and all claims filed or held by Salame in these bankruptcy

proceedings to the claims of innocent creditors who had no part in the illegal and fraudulent

misappropriation of customer funds;

                                                -60-
               Case 22-11068-JTD       Doc 27543        Filed 11/04/24    Page 61 of 62




       196.      Award Plaintiffs monetary damages and/or other equitable relief resulting from

Salame’s aiding and abetting and/or knowing assistance in the FTX Insider’s breach of fiduciary

duties to Plaintiffs and other claims alleged herein;

       197.      Award Plaintiffs their attorneys’ fees, pre- and post-judgment interests, and costs

of suit; and

        198.     Award Plaintiffs all other relief, at law or equity, to which they may be entitled.




                                                 -61-
          Case 22-11068-JTD   Doc 27543     Filed 11/04/24     Page 62 of 62




Dated: November 4, 2024           LANDIS RATH & COBB LLP
       Wilmington, Delaware
                                  /s/ Matthew B. McGuire
                                  Adam G. Landis (No. 3407)
                                  Richard S. Cobb (No. 3157)
                                  Matthew B. McGuire (No. 4366)
                                  Howard W. Robertson IV (No. 6903)
                                  919 Market Street, Suite 1800
                                  Wilmington, Delaware 19801
                                  Telephone: (302) 467-4400
                                  Facsimile: (302) 467-4450
                                  E-mail: landis@lrclaw.com
                                          cobb@lrclaw.com
                                          mcguire@lrclaw.com
                                          robertson@lrclaw.com

                                  -and-

                                  SULLIVAN & CROMWELL LLP
                                  Stephanie G. Wheeler (admitted pro hac vice)
                                  Brian D. Glueckstein (admitted pro hac vice)
                                  Christopher J. Dunne (admitted pro hac vice)
                                  Jacob M. Croke (admitted pro hac vice)
                                  125 Broad Street
                                  New York, NY 10004
                                  Telephone: (212) 558-4000
                                  Facsimile: (212) 558-3588
                                  E-mail: wheelers@sullcrom.com
                                          gluecksteinb@sullcrom.com
                                          dunnec@sullcrom.com
                                          crokej@sullcrom.com

                                  Counsel for the Plaintiffs




                                     -62-
